                                           SR001
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                                                            To be argued by:
                                                            Randall D. Unger
                                                            (15 minutes)



 SUPREME COURT OF THE STATE OF NEW YORK
 APPELLATE DIVISION SECOND DEPARTMENT
          --------------------------------------------------x
 THE PEOPLE OF THE STATE OF NEW YORK,

                               Respondent,                             A.D. No. 2015-01907

                -against-                                              Ind. No. 2228/2012
                                                                       Queens County

  RAYMOND BALL,                                                        TO BE HEARD ON THE
                                                                       OIUGINAL RECORD
                               Defendant-Appellant.
                 --------------------------------------------------x




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 SUPREME COURT OF THE STATE OF NEW YORK
 APPELLATE DIVISION: SECOND DEPARTMENT

 THE PEOPLE OF THE STATE OF NEW YORK,

                          Respondent,

             -against-

 RAYMOND BALL,

                          Defendant-Appellant.


                          PRELIMINARY STATEMENT

             This is an appeal from a judgment rendered March 4, 2015, by the

 Supreme Court, Queens County, convicting the appellant, after a jury thai, of two

 counts of robbery in the second degree in violation ofPenal Law § 160.10 (1) and

 Penal Law § 160.10(2)(a), assault in the third degree in violation of Penal Law §

 120.00(1)and criminal possession of stolen property in the fifth degree in violation

 of Penal Law § 165.40, and sentencing him to concurrent determinate terms of

 imprisonment of 10 years for the robbery counts and definite terms ofimprisonment

 of one year for the assault and stolen property ôount(Barry A. Schwartz, J., at trial

 and sentencing).

              Timely notice of appeal was filed. On January 7, 2016, this Court

 granted the appellant's motion for poor person's relief, and on April 14, 2016,

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 assigned Randall Unger as counsel on appeal. No stay ofexecution has been sought

 and the appellant is presently incarcerated pursuant to the judgment of conviction

 entered herein.



 POINT I

              Whether the hearing court erroneously denied the appellant's motion to

 suppress physical evidence, statements and prior identification evidence.

 POINT II

              Whether the appellant was denied his due process right to a fair trial

 when the People elicited third-party testimony from a police officer that he was

 identified in a showup procedure by the complaining witness.

 POINT III

              Whether the appellant's decision to proceed to trial pro se was made

 knowingly and voluntarily and whether his waiver of his right to counsel was

 ineffective, requiring that a new trial be ordered.

 PONT IV

              Whether the imposition of a 10 year sentence of imprisonment for the

 appellant's conviction of robbery in the second degree was unduly harsh and

 excessive and should, in the interest ofjustice, be reduced.

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                                STATEMENT OF FACTS

 The SupDression Hearing

              P.O. Daniel Lanning, assigned to the          5 Pet., was in plainclothes on

 patrol in an unmarked vehicle on the night of July 3, 2012. At about 9:00 p.m., he

 received a radio call ofa male being robbed at knifepoint at the corner of 105th Street

 and Northern Boulevard by three black males, one of whom was dressed in a white

 shirt and black pants. When he proceeded to that location, he observed a man named

 El Turkey who was bleeding from his head and mouth and looked as if he had been

 beaten up. El Turkey told P.O. Lanning that he'd been robbed and pointed

 southbound on 105°
                  'Street,indicating that the perpetrators had fled in that direction.

 He did not describe the attack or the perpetrators at that time (HA4-HA7, HAlO-

 HA13,HA17-HA21,HB15-I-1B16))

               P.O.Lanning had El Turkey sit in the back seat ofhis car and then drove

 southbound on 105th Street. Within seconds, P.O. Lanning observed two men, one

 of whom was later identified as Elijah Brooks, who was wearing a white shirt, black

 pants and a baseball cap. El Turkey pointed at Brooks and stated "that's the guy




        'Numerical references preceded by"HA"are to the minutes ofthe suppression hearing
 conducted on May 21,2013. Those preceded by"HB" are to the minutes of the reopened
 suppression hearing conducted on January 8, 2014. Those with no prefix are to the minutes of
 the trial. Those preceded by an "S" are to the minutes of the sentencing.

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 there". P.O. Lanning then exited his car and stopped both men. However, he only

 arrested Brooks and then placed a radio call stating that "we had a male stopped"

(HA7-HA9,HAl2-HA 17, HAl9,RB16-H23).

              P.O. Angelo Pampena,also assigned to the       5 Pct., was in uniform on

 patrol in an unmarked car when he heard a radio call ofa robbery in progress at 105th

 Street and Northern Boulevard on July 3,2012 at about9:00 p.m. The description of

 the perpetrators in that call was "male Blacks, wearing a white shirt, black pants".

 However, he could not recall ifthe call described how many perpetrators there were

 or the heights, weights or ages of any of the perpetrators. As he drove southbound

 on 105th Street, he observed a black male, later identified as the appellant, wearing a

 white T-shirt and black pants and holding an iPhone as he was running northbound

 on 1 O5 Street. As P.O.Pampena exited his car to stop him,the appellant, who had

 no injuries or blood on him, stated either that he had purchased or gotten the phone

 from 105th Street and Northern Boulevard. P.O. Pampena then handcuffed the

 appellant. When he searched him,he found a hundred dollar bill, seven twenty dollar

 bills and a ten dollar bill in his pocket(HA22-HA27, HA35-HA43, HA55-HA56,

 HB3O-HB31)

              When P.O. Pampena transported the appellant to 1 05th Street and

 Northern Boulevard, he observed El Turkey sifting in the back of an ambulance. He

                                            El
                                       SR008
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 also observed that El Turkey had blood on his head,face and mouth,a black and blue

 eye that was swollen shut and clothing that was ripped, disheveled and bloody. As

 El Turkey was being cleaned by EMS personnel, he identified the iPhone that P.O.

 Pampena had taken from the appellant and identified the appellant as the perpetrator

 who took his wallet and phone from his pocket. He also stated that he was robbed of

 the same denominations ofU.S. currency that P.O.Pampena had recovered from the

 appellant(HA27-HA33,HA44-HA48,HB31-HB39,F1B46-HB48).

              After the identification was made, El Turkey refhsed to be taken to a

 hospital for medical treatment. P.O. Pampena then placed the appellant in the back

 of his car. When the appellant asked why he was being arrested, P.O. Pampena

 replied that it was for a robbery. The appellant then stated "that ifthe guy said it was

 his then I guess it was his"(HA33-HA34,HA49-H50,HB4I-H45).

 The Hearing Court Decisions

              At the conclusion ofthe initial suppression hearing,the court denied the

 motions to suppress, concluding that the police had probable cause to arrest the

 appellant(HA61-HA64). A decision and order reflecting that decision was issued on

 May 22, 2013. After the re-opened hearing was concluded, the court issued a

 decision and order dated January 14, 2014 which adhered to its earlier decision

 denying the motions to suppress in their entirety.

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 The Trial

 The People's Case

             Tarek El Turkey,a cab driver who was born in Egypt,shared a basement

 apartment with a roomm4te on 105th Street between Northern Boulevard and 32"

 Avenue in the Corona section ofQueens. On July 3,2012,at about 8:30 p.m.,he left

 his apartment to purchase a pack of cigarettes. First, he walked to an ATM machine

 in a check cashing store at the corner of 106th Street and Northern Boulevard and

 withdrew $260.00 in cash. He then walked one block to a deli which he frequented

 to purchase the cigarettes. Outside the deli was a group ofindividuals. One ofthose

 individuals was a homeless black man whom El Turkey had seen begging in the area

 three or four times previously and "always [would] give him [a] dollar or coffee or

 something". When asked if that man was in the courtroom, El Turkey replied,"He

 is not here"(336-346, 392-393).

              After he purchased a pack of cigarettes in the deli, he left the store, lit

 a cigarette and phoned someone as he walked along 1 05th Street towards 34th Avenue.

 Though he had testified before the grand jury that he became aware that two black

 men began following him at that time, he insisted that he was followed by one black

 man whom he described as weighing between 250 and 300 pounds, and wearing a

 white shirt and dark jeans. As his apprehension grew, El Turkey walked into the
                                       SR010
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 street to walk in the direction ofthe deli. After he heard the man who was following

 him tell someone to punch him, the man pushed him to the ground between two

 parked cars. He then observed that the homeless man whom he had seen earlier was

 behind him on the ground. While the heavyset man punched him in the face, the

 homeless man ripped his pants pocket and removed his cell phone and wallet which

 contained $250 in cash. The heavyset man then slammed his head against the curb

 two or three times,cursed him and threatened to kill him. As a result,El Turkey's eye

 became swollen, one ofhis teeth was loosened and he felt pain in his face (347-370,

 393-402).

               When the attack ended,El Turkey observed the heavyset man proceed

 up Northern Boulevard towards 34th Street. However,he did not observe where the

  homeless man went. After about a minute,he stood up and went back inside the deli

 and told the manager that he'd been mugged and asked him to call the police. While

  inside the deli,the heavyset man returned to the front ofthe store and threatened and

  cursed at him again. He claimed he recognized this man because he was wearing the

  same clothing that he wore during the attack a red shirt and black pants(370-372,
                                               -




  402-409).

               About 15 seconds later, El Turkey exited the deli and approached two

  plainclothes police officers in an unmarked car. He rode with those officers for

                                           7
                                             SR011
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  approximately 60 to 80 feet when he observed the heavyset man and another taller

  man in the street. El Turkey identified the heavyset man as the one who had punched

  him. However, he did not identif'that man when asked if he recognized him in the

  courtroom (373-378, 409-414).

                    After El Turkey exited the police car, he was treated in an ambulance

  that had arrived at the scene. When additional police officers arrived, one ofthem

  showed El Turkey a Blackberry phone that did not belong to him and an iPhone that

  he identified as his. A police officer also told him that "he going to bring the guy

  they find the money with him and from far away, and I can recognize him I say yes

  or no   ...   so I tell him,yes,this guy". The man he identified as the"homeless guy" was

  someone he knew "very well" and who"[s]ometimes            ...   acted like a gay"and dressed

  "like a woman". When asked if he recognized that man in the courtroom,El Turkey

  twice replied "No"(378-385,418-427).

                     After the paramedics cleaned him up,El Turkey was asked if he wanted

  to go to a hospital but declined to go because he didn't want to miss time from work.

  Instead, he was driven to a police station where an officer gave him his wallet and

  $250 in cash(381-384,427-431).

                     Det. Daniel Lanning, a field intelligence officer assigned to the 11 5th

  Pct., responded to a radio call of a "male being robbed at knifepoint" by three male
                                      SR012
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 blacks at the corner of IO5 Street and Northern Boulevard on July 3,2012, shortly

 before 9:00 p.m. When he arrived at that location, he observed Tarek El Turkey,

 bleeding from his face and mouth,waving at him. After a briefconversation with El

 Turkey, he placed him in the rear seat of his car and proceeded southbound on 105th

 Street. Within five seconds, Det. Lanning observed two black males walking

 northbound in his direction, When El Turkey stated "that'shim",Det.Lanning exited

 his car and approached the two men with his gun drawn. El Turkey then identified

 the taller of the two men, Elijah Brooks, as "the individual that robbed him". Det.

 Lanning handcuffed Brooks and placed him under arrest(433-481).

             P.O. Angelo Pampena, assigned to the anti-crime unit ofthe 1 15th Pct.,

 responded to a radio call describing a knifepoint robbery in progress by three male

 blacks at 105th Street and Northern Boulevard on July 3,2012 at about 8:55 p.m. As

 he approached 32nd Avenue, he observed a male black, later identified as the

 appellant, wearing a white T-shirt and black jeans, running northbound on 105th

 Street. He did not observe any blood or dirt on the appellant's clothing. When he

 stopped his car,the appellant, who was holding an iPhone,stopped, raised his hands

 and stated that"he bought a phone at 105 and Northern Boulevard". The officer then

 took the iPhone out of his hand, handcuffed and frisked him and found $250 in cash

 in his right front pants pocket(497-511, 542-543,550-552,559, 568-570).
                                       SR013
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             The appellant was driven to 105th Street and Northern Boulevard where

 an ambulance that was recorded as arriving at the scene at 9:11 p.m., was parked at

 the corner. P.O.Pampena entered the rear ofthe ambulance and spoke with TarekEl

 Turkey whose face was bloody and swollen and whose clothes were torn. P.O.

 Pampena then asked El Turkey if he recognized the appellant who was standing in

 front of a police car. El Turkey identified the appellant and stated that he "was the

 one that started to assault him,and then he was the one that took his pocket,he rifled

 through his pockets and took out the phone and the money". He also stated that he

 had seen the appellant on many previous occasions in the vicinity of 105th Street and

 Northern Boulevard. P.O. Pampena then showed El Turkey the iPhone he had

 recovered but denied showing him a Blackberry phone. After unlocking the iPhone,

 he saw photographs ofEl Turkey and gave the phone to him(511-515,552-567,580).

              After speaking with El Turkey,P.O.Pampena canvassed the area to see

 if he could find any other evidence. In the course of that canvas, he found El

 Turkey's wallet, which contained a Social Security card and some other identification

 documents, on a sewer grate at 105th Street and Northern Boulevard (572-574).

              As the appellant was being driven to the police station, he asked what

 he was being charged with. When P.O. Pampena replied,"robbery", the appellant

 responded,"well, if he says it's his, I guess it's his"(575).

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             P.O.Pampena later photographed the iPhone and cash he had recovered

 and vouchered those items. He also took photographs olEl Turkey and vouchered

 those as well(515-525).

 The Defense Case

              Adi Gonzalez, an emergency medical technician employed by the New

 York City Fire Department, responded to a call at 9:07 p.m. on July 3, 2012 and

 proceeded to 106th Street and Northern Boulevard. He arrived at that location at 9:11

 p.m. His first contact with Tarek El Turkey, who had pain in his face and swelling

 and soft tissue injury on his forehead, was at 9:21 p.m. In his report documenting the

 incident, Gonzalez did not indicate that El Turkey was bleeding. His report did

 indicate that he attempted to convince El Turkey to seek medical attention but that El

 Turkey had reftised treatment, stating,"In my country we believe in God whatever

 happens, happens". However, he could not say whether El Turkey was ever inside

 his ambulance(612-645).

 The Verdict & Sentencing

              The appellant was found guilty oftwo counts of robbery in the second

 degree, assault in the third degree and criminal possession ofa weapon in the fourth

 degree(726). Based on his prior conviction of burglary in the third degree, he was

 adjudicated a second felony offender (S2-S4). Thereafter, he was sentenced to

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 concurrent determinate terms ofimprisonment of10 years for the robbery counts,and

 concurrent definite terms of imprisonment of one year for the assault and weapon

 counts(S24).



                                       POINT I

              THE HEARING COURTERRONEOUSLY DEMED THE
              APPELLANT'S MOTION TO SUPPRESS PHYSICAL
              EVIDENCE, STATEMENTS AND PRIOR
              IDENTIFICATION EVIDENCE.

              At the suppression hearing, the evidence presented by the People

  established that on the night of July 3,2012,P.O.Pampena responded to a radio call

  describing a robbery in progress. In that same call, the only descriptions of the

  perpetrators were "male Blacks, wearing a white shirt, black pants". Based on that

  information,P.O.Pampena forcibly stopped, handcuffed and searched the appellant

  and then transported him to the location where Tarek El Turkey was being treated by

  emergency medical technicians and where El Turkey identified the appellant as one

  of the perpetrators. Though the hearing court concluded that the appellant's arrest

  was supported by probable cause, it is clear that no such predicate existed. Because

  P.O.Pampena's forcible detention ofthe appellant was unlawful,his statements to the

  police,as well as the cell phone and U.S.currency seized from his person should have



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 been suppressed. And since the showup identification made by El Turkey was the

 direct product of the police officer's unlawful conduct, the prior identification

 evidence should have been suppressed as well. A reversal of the appellant's

 conviction is therefore required.

              Section 140.10(1)(b) of the Criminal Procedure Law provides that a

 police officer may arrest a person for any crime "when he has reasonable cause to

 believe that such person has committed such crime, whether in his presence or

 otherwise." The term "reasonable cause" is synonymous with "probable cause",

 People v. Maldonado,86,631,635(1995)and is defined in Section 70.10(2)ofthe

 Criminal Procedure Law as follows:

              Reasonable cause to believe that a person committed an
              offense exists when evidence or information which appears
              reliable discloses facts or circumstances which are
              collectively of such weight and persuasiveness as to
              convince a person of ordinary intelligence,judgment and
              experience that it is reasonably likely that such offense was
              committed and that such person committed it.

              In determining whether probable cause has been established, it is not

 necessary that all possibility ofthe suspect's innocence be excluded or that there be

 absolute certainty that the suspect has committed a crime. People v. Bigelow, 66

 N.Y.2d 417, 423 (1985). However, the standard does require that it appear "more

 probable than not that a crime has taken place and that the one arrested is its

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 perpetrator,for conduct equally compatible with guilt or innocence will not suffice."

 People v. Carrasquillo, 54 N.Y.2d 248, 254 (1981), citing People v. De Bour, 40

 N.Y.2d 210,216(1976). Thus,a police officer's hunch or gut reaction that a person

 has participated in a crime will not suffice. People v. Delmonico,94 A.D.2d 773,774

(2d Dept. 1983), citing People v. Sobotker, 43 N.Y.2d 559,564(1978).

              Moreover, where the police are acting on a description of a perpetrator

 which is general and lacking in specificity, this Court has held that such information

 is insufficient to establish reasonable suspicion, let alone probable cause to arrest.

 See People v. Hargroves, 296 A.D.2d 581, 582 (2d Dept. 2002)(description of

 "group of male blacks" one of whom was wearing an orange jacket insufficient);

 People v. Riddick, 269 A.D.2d 471 (2d Dept. 2000) description of four black men,

 one of whom was wearing a black jacket on a corner insufficient); People v. Choy,

 173 A.D.2d 883(2d Dept. 1991)(four young male Orientals dressed in dark clothing

 insufficient); People v. Wisdom, 125 A.D.2d 512, 513(2d Dept. 1986)(black man

 dressed in beige insufficient);Peop/e v. Perez, 125 A.D.2d 419,420(2d Dept. 1986)

 (male Hispanic wearing black thigh-length coat insufficient). And the mere presence

 of an individual in the vicinity of a crime scene does not establish probable cause.

 People v. Sanchez, 276 A.D.2d 723, 724(2d Dept. 2000); People v. Bradshaw, 76

 A.D.3d 566,571 (2d Dept. 2010). Judged by the foregoing standards, it is clear that

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 P.O. Pampena did not have probable cause to arrest the appellant when he

 apprehended him.

              According to P.O.Pampena,the only information contained in the radio.

 call to which he responded was that a robbery was being committed at I05th Street

 and Northern Boulevard and that the perpetrators were"male Blacks,wearing a white

 shirt, black pants"(HA25). The call did not describe the approximate age,height or

 weight ofany ofthe perpetrators,or any oftheir distinctive facial features. Moreover,

 other than the colors indicated,the call did not specifr what type ofshirt or pants any

 of the perpetrators were wearing. Thus, while the appellant may have matched the

 vague and generalized description thatP.O.Pampena heard,it could not be concluded

 that the information fi.irnished by the radio call established the existence ofprobable

 cause to arrest him. People v. Gunter, 158 A.D.2d 541,542(2d Dept. 1990);People

 v. Hargroves, supra.

              Nor was probable cause established by the assertion that the appellant

 was holding a cell phone when P.O.Pampena observed him. While his holding ofan

 iPhone attained significance retrospectively when Tarek El Turkey later identified it,

 at the time it was observed in the appellant's hand by P.O. Pampena, it was of no

 significance at all since the radio call did not indicate that a cell phone had been taken

 during the reported robbery. And while the appellant's statement that he had

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 purchased or gotten the phone in the area might have aroused P.O. Pampena's

 curiosity, and provided him with a basis for making some inquiry,it certainly did not

 furnish him with probable cause to arrest the appellant. See People v. Howard,50

 N.Y.2d 583,590(1980)("[tjhere was,therefore, basis for questioning defendant,but

 there was nothing that made permissible any gseater level of intrusion").

              Nor did P.O. Pampena's assertion that the appellant was running when

 he first observed him warrant a finding that there was probable cause to believe that

 he had committed the robbery then being investigated. This was not a case where the

 suspect fled or attempted to flee after being confronted by the police, a circumstance

 that might have contributed to afinding ofreasonable suspicion that he was engaging

 in some unlawful activity. Peoplev. Holmes,81 N.Y.2d 1056, 1058(1993). Onthe

 contrary, the record discloses that the appellant stopped running as soon as P.O.

 Pampena approached him and made no attempt to flee thereafter. Nor did the

 appellant exi-iibit any evasive or furtive behavior that might have raised the officer's

 level of suspicion. People v. Benjamin, 51 N.Y.2d 267(1980). And P.O.Pampena

 never asserted that anything the appellant had done caused him to fear for his safety.

 People v. Salaman, 71 N.Y.2d 869, 870 (1988). In short, under all of the

 circumstances that existed at the time of the encounter, there was insufficient

 evidence to support a finding that there was reasonable cause to believe that the

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 appellant had comnitted a crime,let alone that there was probable cause tojustify his

 arrest. People v. Clermont, 133 A.D.3d 612,614(2dDept. 20115).

             In sum,since it was unreasonable for P.O.Pampena to arrest and search

 the appellant,the cell phone and U.S.currency recovered from his person should have

 been suppressed since those items were not seized incident to a lawful arrest. People

 v. Baker,20 N.Y.3d 354, 363-64(2013). Moreover, although the appellant's initial

 statement to P.O. Pampena that he had purchased or gotten the cell phone at I 05th

 Street and Northern Boulevard was made prior to his actual arrest, and was alleged

 to have been spontaneously made, it was nevertheless uttered in response to the

 officer blocking his path by driving and stopping his vehicle directly in front ofhim,

 an act that amounted to an unlawfl.il seizure since it significantly interrupted the

 appellant's "liberty of movement". People v. Dc Bour,40 N.Y.2d at 216. As such,

 it cannot be concluded that the statement was truly spontaneous and not the result of

 P.O. Pampena's unlawfUl provocation. People v. Stoesser, 53 N.Y.2d 648, 650

 (1981). And since the appellant's detention was unjustified, the identification by El

 Turkey,and the appellant's subsequentstatement,both ofwhich were the directresult

 ofthe unlawfUl police activity,should have been suppressed as well. People v. Dodt,

 61 N.Y.2d 408, 417 (1984). For these reasons, the appellant's conviction must be

 reversed. Moreover, since El Turkey did not make an in-court identification ofthe

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 appellant at trial, and since suppression of the physical evidence, showup

 identification and statements would leave the People with no evidence with which to

 prosecute the appellant, the indictment should be dismissed. People v. Dickerson,

 153 A.D.2d 897(2d Dept. 1989).


                                       POINT II

              THE APPELLANT WAS DENIED HIS DUE PROCESS
              RIGHT TO A FAIR TRIAL WHEN THE PEOPLE
              ELICITED THIRD-PARTY TESTIMONY FROM A
              POLICE OFFICER THAT HE WAS IDENTIFIED IN A
              SHOWUP PROCEDURE BY THE COMPLAINING
              WITNESS.

              A review ofthe trial record clearly discloses that Tarek El Turkey was

 the only eyewitness to the robbery in which the appellant allegedly participated. It

 is equally clear that El Turkey did not identiQ,'the appellant as one ofthe perpetrators

 of that crime at trial. However, the People did elicit testimony from P.O. Pampena

 that El Turkey had identified the appellant during a showup procedure that he had

 arranged after transporting the appellant to the location where El Turkey was being

 treated by medical technicians. It is submitted that this third-party identification

 testimony was erroneously admitted and that the error was not harmless because it

 deprived the appellant of his due process right to a fair trial. The judgment of

 conviction must therefore be reversed,

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                                       SR022
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             The eliciting ofan identification by an eyewitnessthrough the testimony

of a police officer has been repeatedly held to be so prejudicial as to require the

reversal of a resulting conviction. People v. Trowbridge, 305 N.Y. 471(1953);

People v. Caserta, 19 N.Y.2d 18(1966);People v. Hell,67 N.Y.2d 819(1986). The

prohibition against such testimony avoids the danger that a jury might endow an

identification "with an undeserved aura of trustworthiness" as a result of a police

officer's official confirmation ofanother's identification. Trowbridge,supra at 477;

People v. Veal, 158 A.D.2d 633,.634(2d Dept. 1990);People v. Rankins,81 A.D.3d

857, 858(2d Dept. 2011).

             M exception to the so-called bolstering prohibition is codified in

 Section 60.25 of the Criminal Procedure Law which provides, in pertinent part, as

follows:

             1. In any criminal proceeding in which the defendant's
             commission ofan offense is in issue,testimony as provided
             in subdivision two may be given by a witness when:

             (a) Such witness testifies that:

             (i)He observed the person claimed by the people to be the
             defendant either at the time and place ofthe commission of
             the offense or upon some other occasion relevant to the
             case; and(ii)On a subsequent occasion he observed, under
             circumstances consistent with such rights as an accused
             person may derive under the constitution ofthis state or of
             the United States, a person whom he had observed on the

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             first or incriminating occasion; and (iii)He is unable at the
             proceeding to state, on the basis of present recollection,
             whether or not the defendant is the person in question; and

            (b)It is established that the defendant is in fact the person
            whom the witness observed and recognized on the second
            occasion. Such fact may be established by testimony of
            another person or persons to whom the witness promptly
            declared his recognition on such occasion.

             To invoke the use of Section 60.25, and elicit a past identification by

another person,the prosecution must lay a detailed evidentiary foundation since the

authorization contained in the statute is specific and limited. People v. Patterson,93

N.Y.2d 80, 82(1999)(holding that the statute cannot be invoked to admit a prior

identification of a witness who died prior to trial); People v. Quevas, 81 N.Y.2d 41,

45(1993)(ambiguity as to whether a witness can make an in-court identification is

not a sufficient foundation);People v. Bayron,66 N.Y.2d 77,82(1985)(holding that

the statute does not apply where a witness fails to identify the defendant due to fear).

In any event, before third-party identification testimony will be permitted, the

prosecution must establish that the witness is unable to identify the perpetrator ofthe

offense because he lacks present recollection. People v. Victor,271 A.D.2d 556,557

(2d Dept. 2000); People v. Koplilcu, 37 A.D.3d 496 (2d Dept. 2007); People v.

Hudson,201 A.D.2d 503(2dDept. 1994);People v. Polite,228 AD.2d 705(2dDept.

 1996). Based upon the foregoing, it cannot be concluded that the testimony ofP.O.
                                     SR024
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Pampena, which confirmed El Turkey's prior identification of the appellant, was

properly admitted.

            A review ofthe trial record reveals that when the prosecutor questioned

El Turkey regarding his prior identification of the appellant, and whether he

recognized the appellant as one of the perpetrators, the following exchange took

place:

            Q. Who did the police officers bring to show you?
            A. He bring the homeless.

            Q. Did you recognize the person?
            A. He bring the homeless you want me
                                      -               -




            TFIE COURT:They brought the homeless guy to you?

            THE WITNESS: Yes.

            THE COURT: Okay.

            Q. Who was that person, what did he do to you?
             A. The homeless?

             Q. Yes.
             A. He was the one behind me and the one he took the
             money and phone.

             Q. That was the person the police had in custody?


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                                     SR025
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           !AWfl

            Q. I'm going to ask you to take a look around the
            courtroom and see if you recognize the person they had in
            custody?

            THE DEFENDANT BALL: Asked and answered, your
            Honor.

            Q. Overruled. You can look around.
            A. You mean the homeless guy?

            Q. Yes.
            A. No. I know him very well. No.

            Q. Are you sure the person police had there the homeless
            guy was the person that assaulted you   -




            MR.SHORfl: Withdrawn.

            Q. Are you sure the person the police arrested was the
            person who took your property?



            Q. Can you remember what that person looked like today?
            A. The homeless or the heavy guy?

            MR. GIBBONS: Objection.

            THE COURT: Overruled. What did he look like?

            A. Sometimes he acted like a gay, act like a woman
            sometime,this is the homeless guy.

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                                        SR026
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             Q. Okay. Do you recall what the homeless guy was
             wearing the day he assaulted you?

             A. I guess jeans and white shirt.

             MR.SHORfl:No thither questions, your Honor.

(384-386).

             It is clear from the preceding exchange that El Turkey was sure that he

had accurately identified the individual he described as the homeless man,whom the

People contended was the appellant, when the police exhibited him to El Turkey on

the night of the charged offense. Thus, it appears that the People satisfied the first

and second foundational prongs in Section 60.25 which require proofthatthe witness

observed the perpetrator during the charged offense, and that he subsequently

recognized the person whom he had observed"on the firstor incriminating occasion".

People v. Patterson, 93 N.Y.2d at 82. However, it is equally clear that the People

failed to establish that El Turkey lacked present recollection to identify the appellant

as the perpetrator,the third foundational prong required for invoking Section 60.25.

             For one thing, El Turkey never testified that he was unable to identify

the perpetrator he described as the homeless man due to his lack of present

recollection. Indeed, the prosecutor never even asked El Turkey directly if he was

unable to identify that individual in court because his memory of the event had



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                                       SR027
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dimmed due to the passage oftime. And the fact that the prosecutor had asked that

question when he sought unsuccessfully an in-court identification of the perpetrator

he described as the heavyset man, whom it was contended was co-defendant Elijah

Brooks,did not relieve the People ofthe duty to lay the same foundation with respect

to his lack of recognition of the second perpetrator, particularly since El Turkey

claimed that he had a prior acquaintance with that man but no such prior acquaintance

with the heavyset man.

             Moreover,the record discloses that when he was asked by the trialjudge

if he saw "the homeless guy" in the courtroom, El Turkey responded,"No. I know

him very well. No"(385). This response was not an assertion that El Turkey could

not identify the homeless man as one of the two perpetrators because he lacked

present recollection to do so. Instead,it was an unambiguous assertion by El Turkey

that the man who had stolen his wallet and cell phone was npt seated in the courtroom

and that therefore, the appellant was ]pj one of the perpetrators of the crime in

question. In any case, it cannot be concluded that the People laid an adequate

foundation to allow P.O.Pampena to testify to El Turkey's showup identification of

the appellant.

             While it must be conceded that the appellant did not make a

contemporaneous objection to P.O.Pampena's testimony regarding El Turkey's prior

                                         24
                                            SR028
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identification, this Court should nevertheless consider the error in the interest of

justice pursuant to Section 470.15(3)ofthe Criminal Procedure Law. See People v.

Hall, 82 A..D.2d 838, 839(2d Dept. 1981). Allowing P.O. Pampena to testify to El

Turkey's prior identification of the appellant was a truly monumental error in this

ease. Without this testimony, the People would have been unable to present direct

evidence ofthe appellant's participation in the robbery ofEl Turkey.2 And thePeople

would have surely been hard pressed to persuade the july that the evidence

established the appellant's guilt ofrobbery in the second degree beyond a reasonable

doubt.

              For many of the same reasons, the error in permitting P.O. Pampena's

identification testimony cannot be deemed harmless. People v. Criminins,36 N.Y.2d

230,243(1975). At the very least,there is a significant probability that the appellant

would have been acquitted of robbery if the officer's testimony were exclUded.

Under the circumstances, it cannot be said that the erroneously admitted testimony

did not contribute to the verdict. Accordingly,the appellant's conviction should be

reversed and a new trial ordered.


       2Though the appellant was found in possession of El Turkey's iPhone and denominations
of U.S. currency that matched what had been taken from El Turkey, his recent and exclusive
possession of such items provided circumstantial evidence ofguilt, but did not furnish the jury
with direct evidence of his culpability. See People v. Schillaci,68 A.D.2d 124, 128(2d Dept.
1979).
                                       SR029
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                                     POINT III

            THE APPELLANT'S DECISION TO PROCEED TO
            TRIAL PRO SE WAS NOT MADE KNOWINGLY AND
            VOLUNTARILY. ACCORDiNGLY,HIS WAIVER OF
            HIS RIGHT TO COUNSEL WASINEFFECTIVE AND A
            NEW TRIAL IS REQUIRED.

             Long before the trial began, it appears that the appellant had expressed

dissatisfaction with his assigned counsel. Indeed, he expressed that dissatisfaction

throughout the suppression hearing. And although the hearing court reminded the

appellant that his request to relieve assigned counsel and either proceed pro se or

have new counsel assigned had been denied prior to the reopening Ofthe suppression

hearing(HB2-HB3),the appellant was permitted to question a witness at that hearing

after his assigned counsel had completed her questioning(HB39-HB45). As the trial

was about to comnence, the trial court engaged in a colloquy with the appellant

regarding his purported desire to proceedpro se. In the course ofthat colloquy, the

appellant again expressed his dissatisfaction with his assigned counsel, stating,"it's

hard for a black man to get the proper representation here in the judicial system, you

know, what is it that it provides fcir, it really puts us in, how do you say, awkward

position. Sometimes we really don't have a choice in the matter in the case that we

want to be represented" and that he had explained to anotherjudge who had presided

over the case that "it was   [assigned counsel's]inadequacy as a representation that
                                          SR030
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played a big role in making this choice [to proceed pro se]" (4-5). After further

colloquy was conducted,the trial court concluded that the appellant had knowingly,

intelligently and voluntarily waived his right to counsel and permitted him to

represent himself at trial (5-16). This conclusion was erroneous. A new trial is

therefore required.

             "The constitutional right to counsel is fundamental to our system of

justice". People v. Arroyo,98 N.Y.2d 101, 103 (2002),.citing U.S. Const., Amend.

VI; N.Y. Const., art. I, § 6. Indeed, the Supreme Court has stated that the right to

counsel"is one ofthe safeguards   ...   deemed necessary to insure fundamental human

rights of l!fe and liberty". Johnson v. Zerbst, 304 U.S. 458,462(1938). Thus,the

right to counsel is considered so fundamental to our adversarial system that its

deprivation can never be deemed harmless. Chczpman v. Cal(fornia,386 U.S. 18,23

& n.8 (1967).

             Ofcourse,a criminal defendant's right to be represented by counsel may

be waived since the right to the assistance of counsel "implicitly embodies a

'correlative right to dispense with a lawyer's help". Faretta v. Cal(fornia,422 U.S.

806,814(1975),quotingAdams v. United States exrel. McCann,317 U.S. 269,279

(1942). In recognition ofthis principle, our State Constitution provides,"In any trial

in any court whatever the party accused shall be allowed to appear and defend in

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                                        SR031
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person or with counsel". See People v. McIntyre,36 N.Y.2d 10, 14(1974)(holding

that the right ofself-representation embodies the right of an individual to determine

his own fate). However, before a defendant may proceed pro se, he must make a

knowing, voluntary and intelligent waiver of the right to counsel. People V.

Slaughter, 78 N.Y.2d 485, 491 (1991); People v. Vivienzo, 62 N.Y.2d 775, 776

(1984).

             To determine whether a defendant's decision to waive his right to

counsel is truly knowing, voluntary and intelligent, a trial court must undertake a

"searching inquiry" ofthe defendant. People v. Slaughter, 78 N.Y.2d at 491,citing

Faretta v. California,422 U.S. at 835. A defendant need not be versed in criminal

procedure to exercise his right ofself-representation. People v. McIntyre,36 N.Y.2d

at 17-18. Otherwise,the right ofself-representation would be rendered meaningless.

People v. Davis,49 N.Y.2d 114, 120(1979). And the fact that such a decision may

be imprudent, or that he would be better sewed with counsel is of no consequence

since a defendant"is entitled to be master ofhis own fate" and 'respectfor individual

autonomy requires that he be allowed to go to jail under his own banner if he so

desires and if he makes the choice with eyes open". People v. Vivienzio,62 N.Y.2d

at 776, quoting United States ex rd. Maldonado v. Denno, 348 F.2d 12, 15(2d Cir.

1965).

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                                        SR032
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            The Court of Appeals has enunciated three criteria for determining a

defendant's application to proceedpro se. First,the request must be unequivocal and

timely asserted. Second,the record must demonstrate that there has been a knowing

and intelligent waiver ofthe right to counsel. And third,it must be demonstrated that

the defendant"has not engaged in conduct which would prevent the fair and orderly

exposition of the issues." People v. Mcintyre, 36 N.Y.2d at 17. A defendant's

request to proceed prose is not unequivocal where he does not assertively state that

he wants to represent himself or states that he sees self-representation as a "last

resort" due to his disagreement with his counsel. Feoplev.La Valle,3 N.Y.3d 88,106

(2004). See also People v. Gillian, 8 N.Y.3d 85,88(2006)(request to proceed pro

se not unequivocal where request made only because court refused to replace

assigned counsel who displeased defendant);People v. Ested, 129 A.D.3d 858,859

(2dDept. 2015)(same).

             Here,the appellant's request to proceed pro se was not unequivocal. It

is apparent that throughout the pre-trial proceedings, the appellant experienced

fundamental differences with his assigned counsel and that he repeatedly expressed

his dissatisfaction with counsel to the various judges who were presiding over the

case. At the commencement of the re-opened suppression hearing, he reminded the

hearing court,"[the] last time I was in front of you I asked you to allow me to go pro

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se or have another lawyer represent me in the case. I don't feel   ...   [defensecounsel]

will properly represent me. And she has been negligent, you know,in her duties in

defending me"(H82). After this exchange continued, the hearing court stated,"As

far as changing counsel, at this point the application is denied"(HB3). In the same

vein, when the trial was about to commence and the trial court questioned him as to

whether he'd been threatened or coerced into proceedingpro se,the appellant stated,

"No, no one threatened or coerced me in that way, but you know for a black man
                                                        -




to get the proper representation here in the judicial system, you know,what is it that

it provides for,it really puts us in, how do you say,awkward position. Sometimes we

really don't have a choice in the matter in the case that we wantto be represented"(4)

(emphasis supplied).

             The foregoing statements by the appellant did not express an

unequivocal request to proceed pro se, particularly the one where he indicated that

he felt that he didn't"have a choice in the matte?'. Rather,the appellant's statements

actually reflected dissatisfaction with his present assigned counsel and a desire to

have new counsel assigned. Under the circumstances,the hearing court and the trial

court should have conducted fbrther inquiries into the sources of the appellant's

dissatisfaction with his counsel as part of their continuing duty to ensure that his

rights were protected throughout the course of the proceedings. See People v,
                                          SR034
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Medina, 44 N.Y.2d 199, 207(1978). And the trial court certainly should not have

treated the appellant's complaints about his assigned counsel as an unequivocal

request to proceed pro se. See People v. Littlejohn,92 A.D.3d 898(2d Dept. 2012).

             Moreover,the record does notsupportthe conclusion that the appellant's

waiver ofhis right to counsel was knowing, voluntary and intelligent. While the trial

court did ask the appellant basic questions regarding his educational background and

his understanding ofthe legal process,it did not fully inform him ofthe hardships he

would face or the fundamental rights he would be waiving by proceeding without

counsel. People v. Mitchell, 61 N.Y.2d 580, 585 (1984). Nor did the trial court

impress upon the appellant the seriousness ofthe charges against him or advise him

of the punishment he was facing if convicted of those charges.3 Under the

circumstances, it cannot be concluded that his waiver of his right to counsel was

either knowing, intelligent or voluntary. People v. Arroyo, 98 N.Y.2d 101, 104

(2002).

              In sum,the record does not support the conclusion that the appellant's

waiver of his right to counsel was effective. His conviction must therefore be

reversed and a new trial ordered.



       3As a second felony offender, the appellant faced a maximum term ofimprisonment of 15
years upon his conviction ofrobbery in the second degree.

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                                     POINT IV

             THE IMPOSITION OF A 10 YEAR SENTENCE OF
             IMPRISONMENT WAS UNDULY HARSH AND
             EXCESSIVE AND SHOULD, IN THE INTEREST OF
             JUSTICE,BE REDUCED.

             Upon his conviction oftwo counts ofrobbery in the second degree, the

appellant was sentenced to concurrent detenninate terms ofimprisonment of10 years,

to be run concurrently with a definite term of imprisonment of one year on the

criminal possession of stolen property in the fifth degree count. In the event this

Court declines to reverse the appellant's conviction for the reasons set forth in Points

I, II and III herein, it should, nevertheless, order that his sentence be reduced in the

interest ofjustice.

             It is well sealed that sentencing determinations are generally left to the

sound discretion of the trial court. People v. Notey, 72 A.D.2d 279,282(2d Dept.

 1980). However,that discretion is not without limits. People v. Naranjo,89 N.Y.2d

 1047, 1049(1997). Section 470.15(6)(b)empowers this Courtto modify a sentence

 ofimprisonment that it deems unduly harsh even where the sentence falls within the

 statutory guidelines. People v. Thompson, 60 N.Y.2d 513 (1983). Moreover, in

 exercising this power,this Court need not defer to the finding ofthe sentencing court.

People v. Delgado,80 N.Y.2d 780,783(1992)(holding thatan intermediate appellate



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                                       SR036
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court has "broad plenary power to modify a sentence that is unduly harsh or severe"

and may exercise such power"ifthe interest ofjustice warrants"). In this case,while

the 10 year prison sentence was certainly not illegal as a matter of law, it was

unnecessarily harsh and severe and should therefore be reduced.

             It cannot be disputed that the offense committed against Tarek El Turkey

was a serious one and that substantial punishment was warranted for any individual

who participated in that offense. However,the record discloses that the appellant did

not initiate the attack on El Turkey. Nor did he personally cause any injury to El

Turkey. Moreover, while El Turkey's injuries were certainly substantial, they were

not as serious as what is frequently seen in a second degree robbery. And while the

appellant's theft ofEl Turkey's wallet and cell phone certainly provided evidence of

his culpability as an accomplice, his role in the offense was somewhat more limited

and less blameworthy than his co-defendant who stalked, assaulted and repeatedly

threatened El Turkey. When it is ifirther considered that the appellant was described

 as a homeless man it is fair to conclude that he was not the prime mover in the
                     ,




charged offense and that his participation in the offense was induced by his far more

 violent co-defendant.

             The appellant's decision to proceed to trial pro se was certainly not a

 prudent one. Indeed,as discussed in Point III herein,his purported waiver ofhis right

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to counsel should not have been accepted. However,in attempting to defend himself,

the appellant displayed a remarkable degree of courtesy and respect for the judicial

process. At no time during the trial did he behave in a contemptuous manner. On the

contrary, he accepted the trial court's adverse rulings with more grace than some

attorneys show, on occasion. In short, while it certainly cannot be said that the

 appellant has led an exemplary life,the manner in which he comported himselfat trial

 suggests that he is an intelligent and respectful man who can achieve rehabilitation

 and can become a productive member ofsociety under the right circumstances.

             In sum, there is ample reason to conclude that a lesser term of

imprisonment would serve as adequate punishment for the appellant's offense,while

 maintaining the goals of deterrence and societal protection. People v. Farrar, 52

 N.Y.2d 302, 305 (1981). Accordingly, the judgment of conviction should be

 modified and the sentences for the second degree robbery counts reduced to

 concurrent determinate terms of imprisonment of five years.




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                                   CONCLUSION

             For the reasons stated in PointI herein,the appellant's conviction should

be reversed and the indictment dismissed. In the alternative, for the reasons stated in

Points II and III herein,the appellant's conviction should be reversed and a new trial

ordered. In the alternative, for the reasons stated in Point IV herein,the appellant's

sentence should be reduced.


Dated:       Bayside, New York
             August, 2016


                                               Respectfully submitted,



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                     CERTIFICATE OF COMPLIANCE
                   PURSUANT TO 22 NYCRR § 670.10.3(f)

The foregoing reply brief was prepared on a computer. A proportionally spaced
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certificate of compliance, or any authorized addendum containing statutes, rules or
regulations is 7,874.
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SUPREME COURT OF THE STATE OF NEW YORK
APPELLATE DIVISION:SECOND DEPARTMENT

THE PEOPLE OF THE STATE OF NEW YORK,

                          Respondent,

             -against-                                    AD No. 2015-01907

RAYMOND BALL,

                          Defendant-Appellant.


                  STATEMENT PURSUANT TO CPLR 5531

       1. The indictment number in the lower court was 2228/2012.

       2. The flu! names ofthe original parties were People ofthe State ofNew York

 against Raymond Ball and Elijah Brooks. Only Raymond Ball brings the instant

 appeal.

       3. The action was commenced in the Supreme Court, Queens County.

       4. The action was commenced by the filing of an indictment.

       5. The appeal is from a March 4, 2015 judgment convicting the appellant of

 robbery in the second degree(two counts), assault in the third degree and criminal

 possession of stolen property in the fifth degree, and sentencing him to concurrent

 terms of imprisonment of 10 years on the first two counts and definite terms of

 imprisonment of one year on the third and fourth count(Barry A. Schwartz, J.).

       6. The appeal is being perfected on the original record.
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                                                        To be argued by
                                                     MEREDITH D'ANGELO
                                                (TIME REQUESTED: 15 MINUTES)




            frw ijurk tpremr O.tnurt
                          Appellate Division--Second Department


                                     AD No. 15-01907


                      THE PEOPLE OF THE STATE OF NEW YORK,

                                                           Respondent,

                                           against

                                     RAYMOND BALL,

                                                      Defendant-Appellant.



                            BRIEF FOR RESPONDENT



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          OCTOBER 14, 2016




                                     Queens County
                               Indictment Number 2228/12
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       SUPREME COURT OF THE STATE OF NEW YORK
       APPELLATE DIVISION: SECOND DEPARTMENT


       THE PEOPLE OF THE STATE OF NEW YORK,

                                Respondent,

                          -against-

       RAYMOND BALL,

                                Defendant-Appellant.

                                                                 x

                             BRIEF FOR RESPONDENT

                            PRELIMINARY STATEMENT

                   Defendant Raymond Ball appeals from a March 4,2015,judgment

       of the Supreme Court, Queens County (Schwartz, J.). By that judgment,

       defendant was convicted, after a jury trial, of two counts of Robbery in the

       Second Degree (Penal Law § 160.1O[l],[2J[a]), one count of Assault in the

       Third Degree(Penal Law § 120.0O{1}), and one count ofCriminal Possession

       of Stolen Property in the Fifth Degree(Penal Law § 165.40).

                   Defendant was sentenced to determinate terms of imprisonment

       of ten years with five years post release supervision on the second degree

       robbery convictions,to run concurrently, one year on the third degree assault

       conviction, and one year on the fifth degree possession of stolen property
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       conviction, both of which merged with the sentences on the robbery

       convictions. Defendant is currently incarcerated pursuant to this judgment of

       conviction.



                     On July 3, 2012, defendant and co-defendant, Elijah Brooks,

       robbed Tarek Elturkey.' They followed Elturkey as he left a deli, and co-

       defendant pushed Elturkey to the ground. While defendant held Elturkey's

       hands down, co-defendant repeatedly punched Elturkey in the face and

       repeatedly slammed his head against the curb. Defendant then reached into

       Elturkey's pockets and stole his iPhone and his wallet, which contained $250.

       Defendant and co-defendant then ran away. Elturkey sustained a laceration

       and bleeding to his forehead,the back ofhis head, and mouth; scratches to his

       back; a swollen, black and blue eye; and he lost a tooth. Minutes later,

       defendant was apprehended one block from the robbery with $250 and the

       stolen iPhone in his possession. Elturkey identified defendant in a showup,

       and defendant stated,"if the guys said it was his then I guess it was his."

         'On March 4,2015,co-defendant Elijah Brooks was convicted,after ajointjury trial with
       defendant,oftwo counts ofRobbery in the Second Degree (Penal Law §§ 160.10111,[2][a]),
       and one count of Assault in the Third Degree (Penal Law § 120.O0{1]), and sentenced to
       determinate terms ofimprisonment often years with five years post release supervision on
       the two second degree robbery convictions, to run concurrently, and one year on the third
       degree assault conviction, which merged with his other sentences(Schwartz, J.).

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                    Defendant was arrested and was charged with two counts of

       second degree robbery,one count ofthird degree assault, and one count offifth

       degree criminal possession ofstolen property(Queens County Indictment No.

       2228/12).

                    On January 20,2015, defendant proceeded to trial before Justice

       Schwartz,ofthe Supreme Court,Queens County and ajury. At the conclusion

       ofthe trial, defendant was convicted of all four counts and was sentenced on

       March 4, 2015, as noted above (Schwartz, J., at trial and sentence).

                    On appeal, defendant raises four claims. First, he argues that the

       hearing court erred in denying his motion to suppress physical evidence,

       statements,and identification evidence. Second,he claims that he was denied

       his right to a fair trial when the People elicited third party testimony from a

       police officer that defendant was identified by the victim in a show up

       procedure. Third, he claims that his waiver of the right to counsel was not

       unequivocal and was not made knowingly, intelligently, and voluntarily.

       Fourth, he argues that his sentence was excessive. Defendant's second claim

       is unpreserved, and all of his claims lack merit.




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                                  STATEMENT OF FACTS

                 THE DUNA WA Y/HUNTLEY/MAPF/WJ4DE HEARING

                                        The People's Case

                      On July 3, 2012, at approximately 9:00 p.m., Police Officer

       DANIEL LANNING received a radio run while on patrol in an unmarked car

       with Sergeant Rosenberg for a male being robbed at knifepoint at 104-22

       Northern Boulevard by three black men,and one ofthe robbers was dressed in

       a white shirt and black pants(Lanning: 5,7, 1 l). With Lanning seated in the

       passenger seat, Rosenberg drove two blocks to that location. Lanning was not

       in uniform (Lanning: 6).

                     The victim, Tareek Elturkey, was standing on the corner of 105th

       Street and Northern Boulevard. He was bleeding from the head and mouth and

       looked like he had been "beaten up"(Lanning: 7). Elturkey told Lanning that

       he had been robbed and then pointed southbound on 105th Street and said the

       perpetrators went in that direction (Lanning: 7, 12). Elturkey got into

       Lanning's car and they drove southbound on 105th Street(Lanning: 7). After

       traveling only halfway down the very next block, Elturkey pointed at co-


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           Citations with last names refer to minutes from the hearing that took place on May 21,
       2013. Citations with last names followed by "RH" refer to minutes from the re-opened
       hearing that took place on January 8, 2014.
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       defendant, who was in the street, and identified him as one ofthe perpetrators

      (Lanning: 8, 16). Laiming got out of his car and handcuffed and detained co-

       defendant.

                    On July 3, 2012, at approximately 8:59 p.m., Police Officer

       ANGELO PArs4PENA received a radio run while on patrol in a "plain police

       car" for a robbery in progress at 104-22 Northern Boulevard, which was only

       three blocks away from him (Pampena: 23, 34). Pampena was in uniform

       (Pampena: 23). The perpetrators were described as male blacks, wearing

       "white shirt and black pants" (Pampena: 25). As he was driving to that

       location, Pampena saw a black male wearing a white shirt and black pants,

       running towards Pampena's car on 105th Street, only one or one and a half

       blocks from the crime scene(Pampena: 25, 36, 39). Pampena stopped his car

       and got out. Before Pampena said anything, defendant, who was holding an

       iPhone,spontaneously said,"I bought this phone from 105 Street and Northern

       Boulevard"(Pampena:26). Pampena then handcuffed and detained defendant,

       searched him for weapons,and found $250 in his pocket,in the denominations

       of one $100 bill, seven $20 bills, and one $10 bill(Pampena: 27). Defendant

       had no blood, cuts, or bruises, but his clothes were disheveled(Pampena:42).




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       Pampena drove to the robbery location with defendant in his back seat

       (Pampena: 27).

                    When Pampena arrived at the corner of 105th Street and Northern

       Boulevard at 9:03 p.m., Emergency Medical Technicians ("EMT") were

       treating Elturkey inside an ambulance (Pampena: 27, 34). Elturkey was

       bleeding from his mouth. His clothes were ripped, disheveled, and covered in

       blood, and he had blood on his face and head, a large laceration on his head,

       and a swollen shut, black-and-blue eye(Pampena: 28). Elturkey told Pampena

       that after he left a"check cashing place," co-defendant,a"big black guy" with

        a bald or shaved head, started the "beating" and defendant,"a smaller black

       guy,""ensued with the beating"(Pampena:27,29,52-53). He explained that

       co-defendant punched and kicked his face and body and that defendant took

       his iPhone and wallet, which contained $250, from his pockets during the

       attack(Pampena: 27-29, 51, 52). Elturkey was able to tell Pampena the exact

        denominations ofthe bills one $100 bill, seven $20 bills, and one $10 bill
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       because he had just taken the money out of an ATM(Pampena: 27).

                    Elturkey looked outthe open back doors ofthe ambulance he was

       in and identified defendant, who was facing the ambulance and standing

        approximately three car lengths away, as the person who took his iPhone and

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       wallet(Pampena:28,31-32,46-47). Defendant was handcuffed with his hands

       behind his back and was standing in front of Pampena's car, with one

       uniformed police officer next to him (Pampena: 44-45, 47). Pampena, who

       was also in the ambulance, could not see defendant's hands (Pampena: 48).

       Pampena brought the iPhone to Elturkey but did not tell him where he

       recovered it, and Elturkey gave him the correct password to unlock the phone

       (Pampena: 32,49). Pampena then placed defendant in his car(Pampena: 33).

       Defendant asked what he was being charged with and, when Pampena

       responded,"robbery," defendant replied,"ifthe guy said it was his then I guess

       it was his"(Pampena: 33).

                                    Defendant's Case

                    Defendant did not call any witnesses or present any evidence.

                                   The Court's Decision

                    In an oral decision dated May 21, 2013, the court denied

       defendant's motion to suppress the recovered cash and iPhone, defendant's

       statements, and the identification evidence(Decision: 63-64). First, the court

       filly credited Lanning's and Pampena's testimony (Decision: 59). Then, the

       court held that there was probable cause to arrest defendant based on the facts

       that he matched the description given oyer the radio run; he volunteered that

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       he just came from the scene of the robbery; the victim told Pampena what

       defendant had done and that an iPhone and $250, made up of one $100 bill,

       seven $20 bills, and one $10 bill, were stolen from him; the iPhone and $250

       cash,made up ofthe same denominations,were found on defendant;the victim

       knew the password for the iPhone; and based on defendant's statement

       (Decision: 62). Next,the court found that the identification procedure lacked

       suggestiveness because it happened quickly after the robbery and took place

       a very short distance from the robbery (Decision: 63). Further, the court held

       that the property was lawfully recovered as a result of a search incident to a

       lawful arrest(Decision: 63). Last, the court held that defendant's statements

       were voluntary because they were not made in response to any questions

       (Decision: 63-64).

         THE RE-OPENED DUNA WA Y/HUNTLEY/MAFP/WADE HEARING

                    On January 8,2014,the court permitted defendant to re-open the

       hearing in order to question the witnesses about an Emergency Medical

       Services("EMS")report that was not available earlier.

                                    The People's Case

                    The People did not present any additional witnesses or evidence.
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                                  The Defendant's Case

                    Using the previously unavailable EMS report, defense counsel

       asked Lanning and Pampena several questions. In response,Lanning testified

       that the victim was "a little swollen in the face" and was bleeding from his

       mouth and the top of his face, but he was not squinting or wiping his eyes

       when he identified co-defendant (Lanning RH: 16, 19-20). The victim was

       sitting in the rear passenger seat ofLanning's car when he initially identified

       co-defendant, who was with another man and was walking quickly towards

       their car, on the same side as the passenger side (Lanning RH: 17-18). Co-

       defendant was about nine to ten feet from the car at that point and, although it

       was dark outside,the sidewalk was well lit(Lanning RH: 18). Lanning and the

       victim got out ofthe car and the victim, who was about two to three feet from

       co-defendant, pointed at co-defendant and again said,"That's him"(Laiming

       RH:22-23). Although Lanning stopped and detained co-defendant,Pampena

       made the arrest(Lanning RH: 28).

                    Pampena testified that he stopped defendant at approximately 9:00

       p.m. and he arrived at the scene of the robbery at approximately 9:05 p.m.

       (Pampena RH: 32-33). Pampena placed both defendant and co-defendant

       under arrest at 9:13 p.m.(Pampena RH: 31). Elturkey had one swollen black

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       eye, and a laceration on his head; his clothes were ripped and bloodied; and it

       looked like "he just gotjumped, beat up, mugged"(PampenaRH:34,36). As

       Pampena was sifting "shoulder to shoulder" with Elturkey and talking to him,

       as EMT's cleaned blood off ofElturkey's head with gauze(Pampena RH: 34-

       35). He did not see the EMT's clean blood from around Elturkey's eyes, and

       Elturkey was not slurring his speech(Pampena RH:46,48). Pampena had an

       independent ofrecollection ofElturkey's physical condition; it was not based

       on any aided reports (Pampena RH: 38). After being treated by EMT's,

       Elturkey refused further treatment at a hospital(Pampena RH: 41).

                                   The Court's Decision

                    In a written decision dated January 14, 2014, the court denied

        defendant's motion to suppress the recovered cash and iPhone, defendant's

        statements, and the identification evidence (Decision: 63-64). The court did

        not give any additional bases for its decision other than those in its prior

        decision dated May 21, 2013.

                                       THE TRIAL

                                    The People's Case

                     On July 3, 2012, TAREK ELTURKEY left his house at 8:30

        p.m., walked to an ATM on 106th Street and Northern Boulevard, which was

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       one block from his home, and withdrew $260 (Elturkey: 341-42, 357). The

       $260 was comprised of all $20 bills (Elturkey: 357). After leaving the ATM,

       he visited his friend at a deli located at 105th Street and Northern Boulevard

       (Elturkey: 341-42). Before entering the deli, Elturkey saw defendant, who he

       described as a black homeless man whom he had seen thee or four other times

       over the course ofa month to a month and a halfprior to that night, and he was

       always begging outside ofthat deli(Elturkey:344-45). Elturkey also described

       defendant as a skinny man who had short, tight curly hair that looked like

       dread locks and who was shorter than five foot six inches (Elturkey: 421)

       Elturkey had "always" given defendant a "dollar or coffee or something"

       (Elturkey: 344). On this night,Elturkey saw defendant standing with a"bunch

       ofguys"on the corner of 105th Street and Northern Boulevard(Elturkey: 345),

       Elturkey bought a $10 pack ofcigarettes with one ofhis $20 bills, leaving him

       with $250 made up of twelve $20 bills and one $10 bill (Elturkey: 358-59).

       Elturkey then exchanged five of his $20 bills with another customer for one

       $100 bill, which left him with one $100 bill, seven $20 bills, and one $10 bill

       (Elturkey: 258).

                    As Elturkey left the deli and started to walk down 105th Street, he

       noticed co-defendant following him (Elturkey: 347). Co-defendant had short


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       hair and was "taller than me and maybe heavy.   ..   like 300 pounds.   ..   like 250

       pounds, black guy wearing like white shirt and dark jeans.       . .   short hair"

       (Elturkey: 349). While still on 105th Street, Elturkey turned around to walk

        back toward the deli because he felt unsafe. At that point, co-defendant, who

        was standing in front of Elturkey, yelled to defendant to punch or attack

       Elturkey. Co-defendant then pushed Elturkey in between two parked cars

       (Elturkey:352-53,363). Defendant was standing behind Elturkey atthat point,

        and Elturkey fell down,into defendant(Elturkey: 363-64). Defendant grabbed

        Elturkey's hands and stood up,causing Elturkey's head to fall backwards and

        hit the sidewalk (Elturkey: 364). Defendant placed his knees over Elturkey's

        hands,pinning him down,and co-defendant repeatedly punched Elturkey in the

       face and slammed his head against the sidewalk multiple times(Elturkey: 364-

       66, 400-01). Co-defendant told Elturkey, "P11 kill you, motherfijcker"

       (Elturkey:368,401). Defendantthen took Elturkey's iPhone and wallet, which

        contained his $250,from Elturkey's pants pocket(Elturkey: 367). As a result,

        Elturkey sustained severe pain, bleeding, a black-and-blue eye, and he lost a

        tooth (Elturkey: 369). When defendant and co-defendant 1eft Elturkey went

        into his friend's deli and told him to call 911 (Elturkey: 371). Approximately




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       ninety seconds later, police arrived, and Elturkey got into their car (Elturkey:

       373).

                    When the prosecutor asked Elturkey if he saw defendant in the

       courtroom,Elturkey stated,"He is not here"(Elturkey: 346). Elturkey was also

       asked if he saw co-defendant in the courtroom, and he replied,"Okay, been

       long time. No"(Elturkey: 353). Notably, when the prosecutor asked Elturkey

       what he meant by that,Elturkey replied,"I'm a person like I don't know ifI see

       the person twenty times, I don't know what he was wearing. I mean like I

       always look for basic things, butI'm not rememberfaces or [sic]"(Elturkey:

       353)(emphasis added). When the prosecutor again asked Elturkey to clarify

       what he meant, Elturkey stated that it was "like two or three years ago"

       (Elturkey: 354). And when the prosecutor asked Elturkey,"Are you having

       difficulty remembering?"Elturkey clearly stated,"Yes"(Elturkey: 354). Later,

       Elturkey testified that he recognized co-defendant on 105th Street as he was

       being driven by the police, but he did not see that person in the courtroom

       (Elturkey: 374, 377-78). He also testified that; at the time at trial, he was

       having difficulty remembering who that person was,but he was certain that the

       man who was arrested that night was the same person who punched him

       (Elturkey: 377-78). While Elturkey was being treated in the ambulance, he

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       recognized defendant, who he called the "homeless man" (Elturkey: 384).

       When the prosecutor again asked him if he saw that man in the courtroom,

       Elturkey said,"No,I know him very well. No"(Elturkey: 385). Elturkey also

       testified that he was sure that the man who was arrested was the same person

       who took his property and, when asked if he remembered what that person

       looked like, he responded: "Sometimes he act like a gay, act like a woman

       sometime,this is the homeless guy. I guess[he was wearing]jeans and white
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       shirt"(Elturkey: 385-86). Elturkey later testified again that his memory ofthe

       day was not very good and that he did not know of anyone by defendant's

       name(Elturkey:405,415). Elturkey then testified that the homeless man who

       took his property had hair similar to defendant and he was also heavy like

       defendant, but he was not able to identil' defendant(Elturkey: 431).

                    Detective DANIEL LANNING, who was a police officer at the

       time of the incident, was on patrol with Sergeant Rosenberg on July 3, 2012,

       when they received a radio run at about 9:00 p.m., advising them of a male

       being robbed at knifepoint by two black males,one ofwhom wore a white shirt

       and black pants, at the corner of 105th Street and Northern Boulevard

       (Lanning:434,434-39). When Lanning arrived at that location,Elturkey, who

       was bleeding from his face and mouth,waved him down(Lanning:441). After

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       Elturkey told Lanning that he had been robbed, Elturkey got into Lanning's

       car. After traveling for about five seconds southbound on 105th Street,

       Elturkey recognized co-defendant(Lanning: 442-43). Lanning got out ofthe

       car and stopped defendant and an unapprehended other (Lanning: 445).

       Elturkey identified co-defendant as the"guy"and then Lanning handcuffed co-

       defendant(Lanning: 447). During the trial, Lanning identified co-defendant

       as the man he apprehended and indicated that, at trial, defendant was wearing

       a black jacket(Lanning: 445). Although Lanning handcuffed co-defendant,

       Pampena was the designated arresting officer (Lanning: 456).

                   Police Officer ANGELO PAMPENA was in uniform and on car

       patrol in an unmarked car with Officers Troisey and Tones when he received

       a radio run for a robbery in progress at 105th Street and Northern Boulevard

       (Pampena: 499-500, 502). The perpetrators were described as three male

       blacks, with one man wearing a white T-shirt and black jeans(Pampena:504).

       Pampena was thee or four blocks from the crime scene when he received the

       call (Pampena: 503). Thirty seconds later, as he was driving towards that

       locatipn,Pampena saw defendant, who matched the given description,running

       away from the crime scene(Pampena: 503,543). As soon as Pampena got out

       of his car, defendant put his hands up and said that he bought the iPhone he

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        was holding from 105th Street and Northern Boulevard (Pampena: 505).

       Pampena took the iPhone from defendant, handcuffed him,and searched him,

        recovering $250 from defendant's front right pocket (Pampena: 506). The

        $250 was comprised of one $100 bill, seven $20 bills, and one $10 bill

       (Pampena: 511). Pampena put defendant in his car and then drove one more

        block to the crime scene(Pamperia: 511).

                     When Pampena arrived at the crime scene, he went to the

        ambulance and spoke to Elturkey, whose face and ears were covered in blood,

        his mouth was "busted up," and his clothes were torn up and disheveled

       (Pampena: 512). Elturkey told Pampena what had happened and then, when

        Pampena pointed at defendant, Elturkey said "yes," that he was the one who

        had started to assault him and had stolen his property (Pampena: 512, 514).

        Elturkey identified the iPhone that Pampena recovered and told Pampena the

        exact denominations of money that had been stolen from him(Pampena: 513).

        After speaking with Elturkey, Pampena canvassed the area and found

        Elturkey's wallet,identification,and social security card on top ofa sewer gate

        at 105th Street and Northern Boulevard. He promptly returned the items to

        Elturkey(Pampena: 573-74). Elturkey described defendant to Pampena as a

        male black wearing a white T-shirt and black pants and said that he was the

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       shorter ofthe two men who had attacked him(Pampena: 577,579). Pampena

       took pictures of the iPhone and Elturkey's injuries, returned the iPhone to

       Elturkey,and then wentto the police precinct, where he vouchered the pictures

       and made copies ofthe money before returning it to Elturkey(Pampena: 515-

        16, 525). While driving defendant to the precinct, defendant asked what he

       was being charged with. Pampena replied "robbery," and defendant stated,

       "Well,if he say it's his, I guess it's his"(Pampena: 575).

                    At trial,Pampena identified defendant as the man he arrested who

       had stolen the property from Elturkey and indicated that,at trial,defendant was

        wearing glasses and a black button down dress shirt (Pampena: 505).

       Significantly, the prosecutor asked Pampena if defendant appeared the same

       as he did on July 3 of2012. Pampena answered,"No.. his hair is a little more
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       grown out, he is a liftle heavier today, and he was clean cut at the time.   *.   he

       gained some weight"(Pampena: 506).

                                  The Defendant's Case

                    ADI GONZALEZ was working as an EMT on the evening ofJuly

       3, 2012, when he responded to a call at 105th Street and Northern Boulevard

       (Gonzalez:613-14). The EMS report was computer generated and then

       "backed up" by Gonzalez(Gonzalez: 616). Gonzalez handwrote commentary

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       about Elturkey and the events that took place that night(Gonzalez: 616,619).

       The report indicated that he arrived "on scene" at 9:11 p.m.(Gonzalez: 616).

       Elturkey refused medical treatment,and Gonzalez could not recall ifElturkey

       was brought into the ambulance, although he normally would speak with

       patients inside the ambulance for"street calls," whether they wanted treatment

       or not(Gonzalez:621,623,630-31,639). The EMS report also indicated that

       Gonzalez observed pain,swelling,and soft tissue injury to Elturkey's forehead

       and face,but it did not indicate that Gonzalez observed bleeding from Elturkey

       (Gonzalez: 624-25).

        REOUESTS TO PROCEED PRO SE AND FOR A NEW ATTORNEY

                    At a calendar call in part K-20,on December 16,2013, defendant

       asked the court to relieve his appointed attorney(December 16 Proceedings:

       3). Defendant claimed that his attorney decided thatalleged perjured testimony

       being used against defendant had no relevance to the case (December 16

       Proceedings: 7). The court responded that it had known the quality of

       defendant's counsel's work for many years and that defendant's interpretation

       of what counsel had said was probably incorrect. Then the court denied

       defendant's application(December 16 Proceedings: 8). Defendant then made

       an application to proceedpro se "because ofthe fact [that]   . ..   I prepared my

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       legal defense for myself thus far"(December 16 Proceedings: 8). The court

        denied defendant's application based on the fact that the case was not yet at the

       trial posture and defendant would be in front of a different judge at trial

       (December 16 Proceedings: 8)(Hollie, J.).

                      On January 8, 2014, at the re-opened hearing, defendant made a

       second oral application to relieve his appointed attorney (January 8

       Proceedings: 2). Defendant stated that he did not"feel"that his attorney would

        properly represent him and that she had been "negligent," again referencing

       Pampena's alleged perjured testimony (January 8 Proceedings: 2). He stated

        that he addressed this alleged perjured testimony in a motion to dismiss

       (January 8 Proceedings: 2)? The court denied defendant's application,

        explaining that it had already rejected the same application and that there was

        no indication that defendant's attorney was negligent(January 8 Proceedings:

        3)(Hollie, J.).




               In an August 30,201 3,pro se Motion to Dismiss the Indictment Pursuant to Section
       210.20; 210.35 of the Criminal Procedure Law, defendant argued that Officer Pampena's
       grand jury testimony was perjured. Specifically, he alleged that Officer Pampena gave a
       "ficticiouse [sic]account"ofElturkey's identification ofdefendant,based on the fact that the
       EMS report indicated that Elturkey had refused medical treatment, but Officer Pampena
       testified that he had conducted the showup procedure with Elturkey while Elturkey was being
       treated by EMT's(Defendant's Motion at 5).

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                    On January 5, 2015, at a calendar call in part Tap-A, defendant

       moved to represent himself again (January 5 Proceedings: 3). Defendant

       explained that he could not go forward with his appointed attorney and that he

       had previously represented himself at trial on another case (January 5

       Proceedings: 3-5). The court asked defendant if he understood that he was

       charged with a C violent felony and, as a predicate felon, he faced a jail term

       of from five to fifteen years and five years post-release supervision, if

       convicted (January 5 Proceedings: 5). The court asked defendant about his

       education and warned defendant about the dangers ofrepresenting himself, as

       opposed to having his attorney, who had decades of experience as a trial

       attorney,represent him(January 5 Proceedings: 5-6). Defendant told the court

       that it was because of his attorney that he had been incarcerated for such a

       "long extended period of time," and that he had "seen" her only twice since

       "last year"(January 5 Proceedings: 7). The court responded that it was aware

       that defendant's attorney had had medical issues and that it had tried to move

       the case forward as quickly as possible. The court asked defendant how he felt

       about his attorney acting as his adviser at trial, and defendant responded that

       he would prefer to have a different adviser (January 5 Proceedings: 7). The

       court concluded that it was unnecessary to replace his attorney as his adviser

                                             20
                                      SR064
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        and that it would allow defendant to represent himself(January 5 Proceedings:

       8)(Kron, J.). Defendant never renewed his application to have his attorney

       relieved.

                    On January 20, 2015, before jury selection started at trial, the

        court asked defendant if he still wanted to represent himself, and defendant

        responded that he did (January 20 Proceedings: 3). The court then asked

        defendant several questions about the extent of his education, employment

        background, understanding of the English language, and whether he was

        receiving treatment for any mental or physical condition (January 20

        Proceedings: 3-4). Defendant stated that he could read, write, speak, and

        understand the English language,that he was not being treated for any mental

        or   physical conditions, that he was "maybe nine credits" short of his

        Associate's Degree, and that he had worked as an "electricians help.

        different things" (January 20 Proceedings: 3-4). Next, the court discussed

        defendant's past involvement in the criminal justice system and ascertained

        that he had been in a courtroom many times before this trial (January 20

        Proceedings: 4). The court then asked if anyone had threatened, coerced, or

        influenced defendant to represent himself against his will    .   Defendant

        responded that no one had done so but that,"under the circumstances.   ..   it's

                                             21
                                          SR065
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       hard for a black man to get the proper representation" in the judicial system.

       He continued,"what is it that it provides for, it really puts us in.       ..   awkward

       position [sic].   .   [and that] [s]ometimes we really don't have a choice in the

        matter in the case that we want to be represented"(Januaiy 20 Proceedings: 4).

        Next, and critically, the court told defendant that he had a choice: "You can

        have Miss Povman represent you,that's your choice" an attorney whom two
                                                                    -




        other judges had found no good cause to relieve(January20 Proceedings: 4).

        Defendant responded that he had explained to another judge that it was his

        attorney's"inadequacy"that played a big role in his choice to represent himself

        but he would "like to go forward.     ..   at this stage of the proceeding"(January

        20 Proceedings: 4-5).

                      The court then asked defendant about the prior applications to

        relieve his attorney, and defendant replied that he had explained all ofthis to

        Judge Kron over a period of two and one-half to three years and that Judge

        Kron had denied his application(January 20 Proceedings: 5)•4 The court then

        asked defendant if he knew and understood what he was being charged with,

        what the purpose of that day's court proceedings were, if he knew what a


             In his brief, defendant does not specif' the dates on which he made applications to
        relieve counsel before Judge Kron. On January 5, 2015,defendant made an application to
        represent himself, but not to relieve counsel, as discussed above.

                                                   22
                                      SR066
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       Sandoval hearing was, and what the court's and the jury's functions are

        January 20(Proceedings: 5-6,9). Defendant responded that he understood the

        charges and that he was being charged with second degree robbery and fifth

        degree possession ofstolen property(January20Proceedings: 5-6). Defendant

        also responded that he knew what a Sandoval hearing was and that he

        understood the different functions of the judge and the jury (January 20

        Proceedings: 9-10). Defendant then explained that he had once before been

        permitted to represent himself but that that case had been dismissed before he

        had an opportunity to select ajury(January20 Proceedings: 10-12). The court

        further explained that defendant's attorney had been practicing for many years

        and had tried hundreds of cases, but that it was defendant's decision how to

        proceed. The court then confirmed that defendant had discussed this at length

        with his attorney (January 20 Proceedings: 12). Next, the court asked

        defendant ifhe wished to waive the right to be represented,and defendant said,

        unequivocally,"That's correct, sir"(January 20 Proceedings: 13).

                     But the court did not stop there. It warned defendant that there

        was an inherent unfairness to self-representation where defendant was

        inexperienced because,the court explained,it would hold him to the same legal

        standards as the prosecutor and his co-defendant's attorney, who were both

                                             23
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       experienced trial attorneys (January 20 Proceedings: 13-16). Only after that

       colloquy did the court permit defendant to represent himself (January 20

       Proceedings: 16)(B. Schwartz, 3.). Significantly, even though defendant

        expressed dissatisfaction with his attorney, he never renewed his application

       to relieve his attorney.

                                        POINT ONE

                     THE HEARING COURT PROPERLY DENIED
                     DEFENDANT'S MOTION TO SUPPRESS
                     PHYSICAL EVIDENCE,STATEMENTS AND
                     IDENTIFICATION EVIDENCE (Answering
                     Defendant's Brief,Point One).            -




                     The hearing court properly denied defendant's suppression motion

        because Officer Pampena's conduct in stopping, searching, and arresting

        defendant was proper at everyjuncture. Defendant nevertheless challenges the

        hearing court's ruling, claiming that the stop of defendant was not supported

        by reasonable suspicion and that there was no probable cause to arrest

        defendant. He claims that, as a result,the statements,search,and identification

        that followed should have been suppressed. Defendant is wrong. The court

        properly held that there was probable cause to make an arrest where defendant

        was seen almostimmediately after the officer received a radio run for a robbery

        in progress, he was only between one and one and a half blocks from the
                                      SR068
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       robbery scene, and he was ruiming away from that location and towards the

       officer's car. In addition, defendant matched the description given over the

       radio run, was holding an iPhone, which he spontaneously announced that he

       had bought from 105th Street and Northern Boulevard      -   exactly where the

       robbery had taken place just moments earlier and where Elturkey identified
                                                    -




       defendant as one of the robbers and told Officer Pampena that money

       recovered on defendant was in the exact denominations that had been stolen

       \from him.

                    The factual findings of the hearing court, which had the unique

       opportunity to see and hear the witnesses, are entitled to great deference on

       appeal. See People v. McPherson, 56 N,Y.2d 696, 697 (1982); People v.

       Prochilo,41 N.Y.2d 759,761 (1977). This Court will overrule the findings of

       a hearing court only where they "are manifestly erroneous or so plainly

       unjustified by the evidence that the interests of justice necessitate their

       nullification," and will "refuse to credit testimony which has all appearances

       of having been patently tailored to nullify constitutional objections." People

       v. Garafolo, 44 A.D.2d 86, 88(2d Dept. 1974); People v. Spann, 82 A.D.3d

       1013, 1014(2d Dept. 2011); People v. Miret-Gonzalez, 159 A.D.2d 647(2d

       Dept. 1990); People v. Africk, 107 A.D.2d 700, 701-02(2d Dept. 1985).


                                            25
                                       SR069
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                    Reasonableness is the governing standard in assessing the

       appropriateness of police conduct in search and seizure cases. People v.

       DeBour, 40 N.Y.2d 210, 218 (1976). To evaluate the appropriateness of

       police-initiated encounters, the Court of Appeals has devised a four-tier

       approach. Id. at 223. First, the minimal intrusion of approaching and

       requesting information is permissible when an officer has some objective,

       credible reason, not necessarily indicative of criminality.       Second, the

       common-law right of inquiry is activated by a founded suspicion that

       criminality is at hand. Third, when an officer has a reasonable suspicion that

       a particular individual was involved in a felony or misdemeanor, the officer

       may forcibly stop and detain that person. C.P.L. § 140.50(1); People v.

       Sobotker,43 N.Y.2d 559(1978). Fourth, apolice officer may arrest a person

       when he has probable cause to believe that the individual has committed a

       crime. People v. Hollinan, 79 N.Y.2d 181, 184-85 (1992); People v. DeBour,

       40 N.Y,2d at 223. And a search of defendant is proper where there is

       reasonable suspicion that defendant is armed or poses a threat to safety.People

       v. Caicedo,69 A.D.3d 954(2d Dept. 2010).

                    A number of factors may support reasonable suspicion in any

       given case. A defendant's proximity to the crime scene is, of course, an


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                                       SR070
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       important factor in determining whether reasonable suspicion exists. See

       People v. Turner, 295 A.D. 2d 545 (2d Dept. 2002); People v. Vaughan, 293

       A.D. 2d 693 (2d Dept. 2002); People v. Allen, 278 A.D. 2d 331 (2d Dept.

       2000). Similarly, the fact that a defendant was sweating and breathing hard at

       the time of detention supports a finding of reasonable suspicion. See People

       v. Garcia,284 A.D.2d 479(2d Dept.2001);People v. Overby,251 A.D.2d 163

      (1st Dept. 1998); People v. McLee, 249 A.D.2d 995 (4th Dept. 1998). A

       defendant's apprehension in the direction in which he was alleged to have fled

       also helps support a subsequent stop. See People v. App!ewhite,298 A.D. 2d

       136 (1st. Dept. 2002); People v. Lewis, 277 A.D. 2d 603 (3td Dept. 2000);

       People v. Kyle, 254 A.D. 2d 134(1st Dept. 1998).

                    People v. Flores, 88 A.D.3d 902 (2d Dept. Oct. 18, 2011), is

       particularly instructive here. The courtfound that police officers appropriately

       stopped and detained defendant briefly for a show-up identification procedure

       where the officers responded to a radio run of a robbery commuted by three

       male Hispanics, and spoke to the victim, who indicated that the perpetrators

       had fled in a particular direction.        In Flores, the defendant and his

       co-defendant, both Hispanic males,were the only individuals on the street,and

       were walking in the indicated direction, less than two blocks from the crime


                                             27
                                      SR071
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       scene. When an officer identified himself and asked them to stop, they

       changed directions and walked away at a quicker pace with their headslowered

       and their hands raised.

                   Here,the hearing court properly found thatPampena wasjustified

       in stopping and exiting his car and approaching defendant where, almost

       immediately after receiving the radio run for a robbery in progress, he saw

       defendant running only one or one and a half blocks away from the scene of

       the robbery. In addition, defendant matched the given description of a black

       male wearing a white shirt and black pants(Decision: 2). Based on those facts,

       Pampena had an objective, credible reason to approach defendant. At that

       point, he had not yet"seized" defendant,and thus,no reasonable suspicion was

       required.

                   Next,Pampena had both reasonable suspicion to detain defendant

       and probable cause to arrest defendant. As soon as Pampena, who was in

       uniform, stepped out of his unmarked car, and before he said anything

       whatsoever, defendant announced that he bought the iPhone, that he was

       holding,from 105th Street and Northern Boulevard the exact location ofthe
                                                          -




       robbery in progress about which Pampena had just been notified, and which

       was less than two blocks from where defendant was running. And defendant
                                      SR072
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       knew that he was announcing that to a police officer, based on the fact that

       Pampena was in uniform that night, which shows that defendant clearly knew

       why the police were there and what he had done. Based on all ofthese facts,

       Pampena not only had reasonable suspicion to believe that defendant was

       involved in a crime but he also had probable cause to arrest defendant at this

       point. F/ores, 88 A.D.3d at 903. And there was certainly probable cause to

       arrest defendant once Pampena spoke to Elturkey and once Elturkey identified

       defendant. See People v. Hollman, 79 N.Y.2d 181, 184-85 (1992); People v.

       DeBour,40 N.Y.2d at 223.

                    Moreover, the hearing court properly found that Pampena

       searched defendant incident to a contemporaneous,lawful arrest based on the

       facts mentioned above(Decision at 2). See Virginia v. Moore,2008 U.S.3674

      (2008); People v. Gokey, 60 N.Y.2d 309, 312(1983). Based on defendant's

       statement,Pampena had probable cause to believe that defendant was involved

       in the robbery. He was then justified in handcuffing defendant,searching him,

       and placing him in his car. And even if defendant was only detained and not

       yet arrested at that point, Pampena still properly searched him after

       handcuffing him to ensure he was not armed. See Caicedo,69 A.D.3d at 954.




                                            29
                                       SR073
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                    Defendant,however,claims thatPampena did not have reasonable

       suspicion to stop and detain defendant, and that, therefore, the property

       recovered, identification evidence, and defendant's statements should have

       been suppressed. Defendant contends that the description of a male black in a

       white shirt and black pants was not specific enough, on its own, to warrant

       reasonable suspicion for Pampena to stop defendant. He also claims that

       defendant running in the vicinity ofthe crime scene did not warrant seizure of

       the defendant, and neither did the fact that defendant was holding an iPhone

       because the radio run did not indicate that an iPhone had been stolen.

       Defendant also argues that defendant's first statement was not spontaneous

       because it was the result of an unlawful seizure. Defendant's claims lack

       merit.

                    As frilly discussed above, Pampena did not need reasonable

       suspicion to get out ofhis car and approach defendant. At that point he had the

       right to approach defendant and make an inquiry based on all of the facts

       enumerated above. And Pampena did not block defendant's path by stopping

       his car and certainly did not seize defendant at that point. Pampena testified

       that he stopped and got out ofhis car as soon as he saw defendant,but he never

       testified that he blocked defendant's path when he stopped his car or in any


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                                       SR074
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      other manner. This does not amount to a seizure, especially where defendant

       was on foot and simply could have run around Pampena's car or turned around

       and run the other way. Therefore, because Pampena had not yet detained

       defendant at that point, reasonable suspicion was not required. But no sooner

       had Pampena gotten out of his car than defendant stated that he bought the

      iPhone, that was in his hand,from 105th Street and Northern Boulevard the -




       scene ofthe robbery that hadjust taken place. And defendant's statement was

       an unprovoked,spontaneous,and completely voluntary statement that did not

       occur as the result of any detention or seizure. Indeed,Pampena had not even

       spoken to defendant.

             /
                    Defendant claims that the phone in his hand had no bearing on the

       court's analysis because the radio run did not indicate that an iPhone had been

       stolen. This is not so. A robbery necessarily implies that property was taken.

       So when Pampena saw defendant ruiming with an iPhone in his hand,

       combined with all of the other factors, that certainly added to the reasonable

       suspicion that defendant was involved in the reported robbery.

                    Similarly unpersuasive is defendant's argument that the

       description given over the radio a male black in a white shirt and black pants
                                       -




       —wastoo general to constitute reasonable suspicion. Although that description


                                             31
                                      SR075
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      on its own may not have amounted to reasonable suspicion,that was decidedly

       not the only factor Pampena had to consider. Defendant not only matched that

       description but was also seen running less than two blocks away from the

       where the robbery had just occurred,was holding an iPhone,and admitted that

       he had just come from the scene of the robbery. All of these factors taken

      together amount to reasonable suspicion to detain defendant and probable

       cause to arrest him. See Holiman,79 N.Y.2d at 184-85;People v. DeBour,40

       N.Y.2d at 223; Flores, 88 A.D.3d at 903.

                   In sum,the hearing court properly denied defendant's suppression

       motion when it held that Officer Pampena had both reasonable suspicion to

       detain defendant and probable cause to arrest him.

                                      POINT TWO

                   OFFICER PAMIPENA PROPERLY TESTIFIED
                   THAT THE VICTIM IDENTIFIED
                   DEFENDANT IN A SHOWUP, AND
                   DEFENDANT'S CLAIM TO THE CONTRARY
                   IS MERITLESS AND UNPRESERVED
                   (Answerinff Defendant's Brief, Point Two).

                    The People laid the properfoundation to admit OfficerPampena's

      testimony about Elturkey's prior showup identification of defendant, as

       Elturkey testified that he had no recollection of the incident and had trouble

       remembering the co-defendant's face due to the passage oftime.. Defendant,
                                            32
                                       SR076
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       however, claims that the People did not lay the proper foundation because

      Elturkey's testimony did not establish that he had no present recollection of

       defendant. Defendant is wrong. Furthermore, his claim is unpreserved

       because he objected to Officer Pampena's testimony about the showup after

       both sides had rested and after the court denied his motion for a trial order of

       dismissal. In any event, the People satisfied the requirements to admit the

      testimony under section 60.25 of the Criminal Procedure Law; including the

       last requirement, that the reason Elturkey was unable to identify defendant at

       trial was due to a lack of memory. In the alternative, any error was harmless

       due to the overwhelming evidence of defendant's guilt.

                    The Court ofAppeals explained that C.P.L. § 60.25 was enacted

       by the Legislature for a situation where a "witness, due to lapse of time or

       change in appearance ofthe Defendant,cannot make an in-court identification,

       but has on a previous occasion identified the defendant." People v. Nival, 33

       N.Y.2d 391, 395 (1974). The statute explicitly overrules the prohibition on

       hearsay identification testimony adopted by People v. Trowbridge, 305 N.Y.

       471(1953)"by permitting the fact ofthe prior identification to be established

       by the testimony of another person when the identifying witness is unable to

       make an identification at trial." People v. Lagana, 36 N.Y.2d 71, 74(1975).


                                             33
                                       SR077
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       Section 60.25 allows a third party, usually a police officer who witnessed the

       identification, to testii to the witness's identification ofthe defendant. C.P.L.

       § 60.25(1)(b). Under these circumstances,"once the witness has testified to
       a previous identification ofthe culprit,the fact that the defendant is the person

       whom the witness previously identified 'may be established by testimony of

       another person or persons to whom the witness promptly declared his

       recognition' at the time he made the prior identification." Nival, 33 N.Y.2d at

       395,

                    In order to properly admit third party testimony about a past

       identification, the People must establish three elements: Defendant concedes

       that the People adequately established the first two elements, that Elturkey

       observed defendant during the robbery and that Elturkey identified defendant

       in a showup procedure as the person who robbed him, See C.P.L. §

       60.25(1)(a)(i),(ii)(See Defendant's Briefat 23). The third elementrequires the

       People to demonstrate that the witness's inability to identify the defendant at

       trial is based upon a lack of present recollection due to the passage of time.

       C.P.L. § 60.25(l)(a)(iii). The People's evidence here amply made that

       showing, contrary to defendant's claim.
                                       SR078
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                    At the outset, defendant's current claim is unpreserved. Where

       a defendant makes a general objection that does not address the specific

       requirements of§ 60.25 that he challenges on appeal, he fails to preserve his

       contention for review. This Court has repeatedly held that in order to preserve

       a claim that third-party identification testimony was admitted without the

       proper foundation required by § 60,25, a defendant must make that specific

       argument at trial. People v. Jenkins, 205 A.D.2d 642,643(2d Dept. 1994), lv

       denied 84 N.Y.2d 868; see also People v. Davis, 139 A.D.3d 966 (2d Dept.

       2016); People v. Giles, 242 A.D.2d 958, 959 (2d Dept. 1997)(unpreserved

       where defendant failed to object to admission oftestimony from two officers

       concerning prior identification of defendant by complainant).

                    Here,after Elturkey did not identi'defendant at trial, the People

       elicited testimony from Pampena regarding Elturkey's prior identification of

       defendant. Defendant never objected to Pampena's testimony during the

       challenged testimony (Proceedings: 513-14). Instead, defendant waited to

       object until after the People rested and after the court denied his motion for a

       trial order of dismissal (Proceedings: 357). Even then, the sum total of

       defendant's untimely objection to the challenged testimony was that "we not

       allow that to be presented to the jury,   ..   because it doesn't apply to us in this


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                                         SR079
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      case" (Proceedings: 598). The court ruled that defendant's objection was

      untimely and, in any event, the People laid the proper foundation for the

       admission of Pampena's testimony (Proceedings: 598). Defendant made no

      further comment.

                     Not only was defendant's application untimely, but it was also

       only a vague general objection. He failed to specify which requirement of§

      60.25 the People failed to establish and did not reference the statutory bases for

       his objection. Therefore, his current claim that the People failed to meet the

       foundational requirements necessary under C.P.L. § 60.25 is unpreserved.5

                     Nor should this Courtreview defendant's unpreserved claim in the

       interest ofjustice, as the People satisfied the third prong required by section

       60.25 in order to lay the foundation for Pampena to testify about Elturkey's

       prior identification ofdefendant. The People met that prong by demonstrating

       that Elturkey's inability to identify defendant in court was due to a lack of

       present recollection after a passage of two and a half years. See C.P.L. §

       60.25(1)(a)(iii).




              Defendant, in his brief; concedes as much, and claims that "this Court should
       nevertheless consider the error in the interest ofjustice"(Defendant's Brief: 24-25).

                                                36
                                      SR080
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                    In order to meet this third prong ofsection 60.25,the People must

       resent testimony that establishes a lack ofpresent recollection ofthe defendant

       as the perpetrator. People v. Quevas, 81 N.Y.2d 41, 45 (1993). A "lack of

       present recollection" means that the witness is unable to make the

       identification attrial due to the passage oftime."People v. Johnson,75 N,Y.2d

       856(1990); People v. Bayron,66 N.Y.2d 77, 81(1985). The statute is also

       satisfied when a witness's inability to recall results from a change in the

       defendant's appearance.People v. Cwikla,46 N.Y.2d 434,444-45(1979);see

       also People v. Robinson, 39 A.D.3d 772, 772 (2d Dept. 2007); People v.

       Marrero, 183 A.D.2d 728, 729 (2d Dept. 1992); People v. Hernandez, 154

       A.D.2d 197, 201 (2d Dept. 1990). But courts have declined to extend the

       statute to a witness who does not identi1, the defendant in court for other

       reasons, such as a fear of reprisal (Bayron, 66 N.Y.2d at 81) or a witness's

       inability to identify the defendant because he is physically or mentally

       incapable of doing so(Quevas, 81 N.Y.2d at 45-46). Significantly,"the basic

       decision as to whether a witness lacks sufficient recollection to make an in-

       court identification remains a matter for the trial court's discretion" and

       "resolution ofthis question turns upon an evaluation ofthe totality ofevidence

       presented." Hernandez, 154 A.D.2d at 201 (internal citations omitted).


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                                       SR081
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                   The facts of this case resemble those in People v. Hernandez,

       where this Court concluded that the witness's memory was impaired by the

      passage of time and that the People properly introduced third party

      identification testimony pursuant to section 60.25. In Hernandez,the witness

      testified that he did not see defendant in the court room, as Elturkey did here.

      In Hernandez, the witness never testified that he did not remember what the

      defendant looked like, like Elturkey here. Despite that, this Court held in

      Hernandez that the witness's testimony was sufficiently indicative ofa lack of

       present memory where he was asked to make in-court identification one year

      after the incident and where the defendant's appearance had changed in terms

       of his weight and hair length. This Court held that a lapse oftime and change

      in appearance ofthe defendant since the prior identification are "critical factors

      in determining whether to admit testimony under section 60.25." Id. at 201

      (internal citations omitted). "Reliance on these factors is especially warranted

       where the cause of a witness's inability to make a trial identification is

       unexplained or the testimony which bears upon this issue is vague,

       nonparticularized, and conclusory in content." Id.

                   Here,although Elturkey stated that he did not see defendant in the

       courtroom, his inability to make a trial identification was never explained


                                             il:3
                                      SR082
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       beyond that simple answer. Therefore, like in Hernandez, it is crucial to

       examine critical factors such as how much time elapsed between the prior

       identification and the trial, and the change in defendant's appearance. See

       Herncrndez, 154 A.D.2d at 201. Here, there was evidence that Elturkey was

       having trouble remembering the identity of his attackers. He testified more

       than once that he was having trouble remembering co-defendant. He also

       stated that,"I'm a person like I don't know ifI see the person twenty times, I

       don't know what he was wearing. I mean like I always look for basic things,

       but I'm not rememberfaces or [sic]"(Elturkey: 353)(emphasis added). And

       his testimony took place two and a half years after Elturkey identified

       defendant on the night of the robbery. Elturkey also testified that defendant

       was homeless at the time ofthe robbery and that he had encountered him only

       three or four times over the course of only one to one and one half months.

                    And when the prosecutor asked Pampena if defendant looked the

       same at trial as he did the day ofthe robbery,Pampena unequivically said "no"

      (Pampena: 506). He testified that defendant had gained weight, that his hair

       was a bit longer,and that he was clean cut at the time ofthe robbery. Pampena

       also testified that defendant was wearing a black button down dress shirt and

       glasses, and Lanning testified that he was wearing a black jacket as opposed
                                                                       -




                                            39
                                         SR083
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       to the white T-shirt and black pants that he was wearing on the night of the

       robbery. Thus, here, like in Hernandez, much time had passed since the

       wintess had identified defendant at the crime scene, and defendant's hair and

       weight had changed. See Hernandez, 154 A.D.2d at 201.

                        But the facts here are even stronger than those in Hernandez.

       Here,in addition to the change in defendant's hair and weight,even more time

       had passed than in Hernandez. And here, defendant went from appearing

       homeless on the night ofthe robbery to being dressed in a suit and glasses at

       trial. Clearly, defendant's appearance at the time of the robbery was quite

       different than his appearance two and a half years later at trial. Such a drastic

       change in appearance undoubtedly affected Elturkey's memory when he

       testified   -   more than once that he was having trouble remembering, Thus,
                                     -




       Elturkey's inability to identify defendant was clearly impaired by the passage

       oftwo and a hallyears and the dramatically changed appearance ofdefendant.

       Id. Furthermore, after defendant lodged an untimely objection to Officer

       Pampena's testimony,the trial court explicitly found that the proper foundation

       for the testimony had been laid. Critically,"a determination by a trial court

       that a witness does not possess sufficient present recollection to permit an in-

       court identification of the defendant must be accorded the same effect as a


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      statement by the witness that he cannot now identif' the defendant."

      Hernandez, 154 A.D.2d at 200(citing Cwikla,46 N.Y.2d 434,444)(emphasis

      in original); see also People v. Mitchell, 143 A.D.2d 421 (2d Dept. 1988);

      People v. Black, 130 A.D.2d 353 (1st Dept. 1987). And the trial court's

      determination should be given deference here. As stated above, the record

      fizily supports the trial court's determination that the People properly elicited

      C.P.L. § 60.25 testimony. No other reason,such as reftisal or fear, is borne out

      by the record. Thus, contrary to defendant's claim, the final statutory

      requirement was met, and the trial court's decision regarding the challenged

      testimony should not now be disturbed.

                   Even ifthis Court finds that a proper foundation was not laid, any

      error in admitting the testimony was harmless, as the other evidence at trial

      overwhelmingly established defendant's guilt. Trowbridge errors are harmless

      where other evidence of a defendant's guilt is overwhelming and there is no

      significant probability of a different verdict. People v. Crimmins, 36 N.Y.2d

      230(11975);see also People v. Rodriguez, 139 A.D.3d 883(2d Dept.2016)(any

      improper bolstering would have been harmless error due to overwhelming

      guilt);People v. German,45 A.D.3d 861 (2d Dept. 2007)(improper bolstering

      was harmless error because evidence of guilt was overwhelming where


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                                       SR085
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      defendant was apprehended shortly after robbery and found in possession of

       both exact sum ofcash taken from victim and toy gun that matched description

      of gun used during robbery); People v. Marrero, 183 A.D.2d 728(2d Dept.

       I 992)(evidence of guilt overwhelming, including defendant's inculpatory

      statement).

                    People v. Jenkins, 205 A.D.2d at 642, is strikingly similar to the

      facts here. In Jenkins, police officers conducted a showup with the victim

       shortly after a robbery. The trial court permitted a police officer to testify

       about the victim's prior identification ofdefendant,a ruling that the defendant

       later disputed on appeal. This Court held that the defendant's Trowbridge

       claim was unpreserved but that, in any event, any error was harmless because

       there was other overwhelming evidence of defendant's guilt. Id. at 643. In

       Jenkins, that evidence was the fact that the defendant was apprehended soon

       after he got out ofthe getaway car and that he possessed some ofthe proceeds

       ofthe robbery when he was apprehended. Id.

                    Here, too, there is overwhelming evidence of defendant's guilt

       other than the prior identification ofdefendant. Similar to Jenkins, defendant

       here was apprehended within minutes of the robbery, and he possessed

       Elturkey's stolen property when he was apprehended. Here, however, there


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       was even more evidence of his guilt than in Jenkins. Not only was defendant

       apprehended shortly after the robbery, but he was also apprehended only one

       block away from the robbery and was running away from the scene of the

       robbery at the time. And without prompting, defendant admitted that he

       bought the phone from 105th Street and Northern Boulevard —the precise

       location of the robbery.      Moreover, here, defendant also matched the

       description ofthe robber that was given in the radio run. Furthermore, he had

       cash in the exact same amount and denominations that was stolen from

       Elturkey. Still ftirther, defendant did not dispute that the property found on

       him belonged to Elturkey, and instead, he stated,"Ifhe said it's his, it must be

       his." (Pampena: 33); see Marrero, 183 A.D.2d at 728. Therefore, any

       Trowbridge error was harmless because there was other overwhelming

       evidence of defendant's guilt.

                    In sum, defendant failed to preserve his claim that the People did

       not lay a proper foundation to admit the challenged testimony because he did

       not properly object to the People's questioning ofOfficer Pampena in a timely

       and specific manner, and moreover,the People laid the proper foundation to

       admit this testimony. In any event, any error was harmless.




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                                      POINT THREE

                   DEFENDANT'S WAIVER OF HIS RIGHT TO
                   COUNSEL WAS UNEQUIVOCAL,KNOWING,
                   INTELLIGENT, AND VOLUNTARY
                   (Answering Defendant's Brief. Point Tbree.

                    Defendantintelligently and voluntarily waived his right to counsel

       when he unequivocally stated that he was prepared to represent himself

       Nevertheless, defendant contends that his request to proceed pro .se was not

       unequivocal because he made the request only after the court refused to give

       him a new attorney. Defendant also argues that his waiver was not voluntary,

       intelligent, and knowing. Defendant's claims lacks merit and are belied by the

       record. Although defendant had, in the past, requested that his appointed

       counsel be relieved, he did not renew that application before trial, when he also

       asked to proceed pro se and made clear to the court that he was ready to

       proceed to tn al pro se. He answered all ofthe court's questions and continued

       to state, unequivocally, that he wanted to represent himself. And his

       application to represent himself was not a spur of the moment request      -   his

       applications to do so dated as far back as two years before trial.

                    It is well settled that a defendant has a state and federal

       constitutional right to forego counsel and represent himself Fczretta v.

       caljfornia, 422 U.S. 806 (1975); People v. McIntyre, 36 N.Y.2d 10 (1974).

                                               rii
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      And to prevent convicted defendants from perverting the system by

      subsequently claiming a denial oftheir right to proceed pro se,the request for

      self-representation must be unequivocal. Faretta v. California, 422 U.S. at

      835;People v. LaValle, 3 N.Y.3d 88, 106(2004); McIntyre, 36 N.Y.2d at 17.

      To be unequivocal, a request to proceed pro se must be "clearly and

      unconditionally presented to the trial court." McIntyre, 36 N.Y.2d at 17.

      Moreover,ifthe request for self-representation goes unanswered or is denied,

      and the defendant subsequently acts in a manner that indicates his satisfaction

      with counsel, he has abandoned the request. People v. Gill/an, 8 N,Y.3d 85

      (2006); People v. Diaz, 83 A.D.3d 958(2d Dept. 2011); People v. Scivolette,

      40 A.D.3d 887(2d Dept. 2007). After an unequivocal request to proceed pro

      se, the court should conduct a searching inquiry to determining whether the

      defendant is waiving his right to counsel knowingly, voluntarily, and

      intelligently. People v. Arroyo, 98 N.Y.2d 101(2002); People v. Smith, 92

      N.Y.2d 516(1998).

                   The application is not unequivocal, however, if it appears to be

      made in frustration with the court's refusal to assign new counsel. See Gil/ian,

      8 N.Y.2d at 85;see also People v. Payton,45 N.Y.2d 300,315(1978);People

      v. Littlejohn, 92 A.D.3d 898(2d Dept. 2012); People v. Carter, 299 AD.2d
                                      SR089
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       418(2d Dept. 2002); People v. Rainey, 240 A.D.2d 682(2d Dept. 1997). In

       People v. LaValle, 3 N.Y.2d 88, 106-07 (2004), the Court held that the

       defendant did not make a sufficient unequivocal request to proceed pro se. In

       LaValle, the defendant voiced extreme dissatisfaction with his attorneys,

       stating that he would have to proceed pro se only if he did not get a new

       attorney and that he regarded self-representation as his last option. Because

       defendant raised the request to proceedpro se only as part of a greater plan to

       obtain new counsel, his request was not unequivocal and, therefore, the trial

       court did not have to allow him to proceed pro se.

                    By contrast, here, defendant's waiver ofthe right to counsel was

       voluntary, intelligent, and knowing, and his request to represent himself was

       unequivocal where he requested to represent himselfon numerous occasions,

       in front of three different judges, and where he did not request new counsel

       during his last two applications to represent himself; which were granted.

                    Defendant made applications for new counsel twice in front ofthe

       same court,on December 16,2013,and again several months later, on May 20,

       2013. Those applications were both denied. Defendant requested new counsel

       because, according to him, his appointed attorney was negligent, would not

       represent him properly,and did not believe that Officer Pampena's purportedly


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                                      SR090
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       perjured testimony about stolen property being recovered from defendant was

       relevant to his case. The court denied defendant's first request because the

       case was not yet in a trial posture. It denied the second request because it

       determined that counsel had not been negligent and that defendant was most

       likely incorrectly interpreting what she had told him regarding purportedly

       perjured testimony being irrelevant to his case. Furthermore,immediately after

       his first request for new counsel was denied on December 16,2013,defendant

       followed up that application with an application to represent himself.

       Defendant made this request to proceed pro se, not because his attorney was

       not relieved, but because, as defendant clearly explained to the court, he had

       already"prepared [his]legal defense"(December 16 Proceedings: 8). And the

       second time defendant asked to have counsel relieved, he did not follow that

       application with a request to represent himself

                    Then, on January 5,2015,in front ofa different court, defendant

       against requested to go pro se,indicating that he could not go forward with his

       attorney. Defendant stated that he had only seen his attorney twice that year.

       The court stated that it was aware of his attorney's medical issues, explained

       that defendant's attorney had many years of trial experience, and warned

       defendant ofthe dangers ofrepresenting himself. But even though defendant
                                       SR091
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       expressed dissatisfaction with his attorney, he did not actually ask for his

       attorney to be replaced on this date. He did not state that, fhe could not get

       a new attorney then he wanted to represent himself, unlike the defendant in

       LaValle. La Valle, 3 N.Y.2d at 106-07.

                    Next, just before trial commenced on January 20, 2015, Judge

       Barry Schwartz yet another court confirmed that defendant still wanted to
                       -                  -




       represent himself Although, during the colloquy with this court, defendant

       stated that it was his attorney's "inadequacy" that played a "big role" in his

       choice to represent himself, he did not request new counsel and instead

       unambiguously stated that he wanted to proceed to trial (Proceedings: 4-5).

       Once again,and consistent with his prior requests to proceedpro se, defendant

       did not state that he would represent himself only fthe court did not replace

       his attorney. Critically, he never requested a new attorney on this date. And

       when defendant stated that he did not have a choice in the matter because of

       his attorney,the court informed him that, to the contrary, he did have a choice

       and then told him that he could go forward with his appointed attorney, whom

       no court had found reason to relieve. In fact, all three courts cited defense

       counsel's wealth oftrial experience,noting that she had tried hundreds ofcases

       over a period of decades.


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                                       SR092
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                    Defendant's request was unequivocal where,on Januaiy 5,2015,

       and January 20,2015,defendant requested to proceedpro se but did not renew

       his request to relieve counsel. On both dates, he answered a number of

       questions from the court and he staunchly repeated his desire to represent

       himself. jad the decision to represent himself was not a spur ofthe moment

       decision on the eve oftrial. Far from that, defendant had request to represent

       himself as far back as December 16, 2013, and his reasoning was that he had

       prepared his own legal defense.

                    Nonetheless, defendant claims that he requested to proceed pro

       se only because the court refused to assign new counsel. Defendant's claim

       lacks merit and is belied by the record, As an initial matter, defendant is not

       entitled to the attorney of his choosing.

                    Although an indigent defendant has a right to a
                    court-appointed attorney, he or she does not have the
                    right to choose assigned counsel. The decision to
                    appoint new counsel is within the trial court's
                    discretion upon a showing of good cause.   ...  Here,
                    the defendant's conclusory statements that he lacked
                    confidence in his attorney, and his general
                    expression of dissatisfaction with counsel, were
                    insufficient to establish a good cause for a substitution of counsel.

      People v. White, 60 A.D.3d 877, 875 (2d Dept. 2009)(internal citations

       omitted). See also People v. Sawyer, 57 N.Y.2d 12, 18-19 (1982)(indigent
                                      SR093
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      defendant guaranteed right to counsel but not right to choice of assigned

      counsel).

                   Here,the trial court's decision not to relieve counsel was a proper

      exercise of its discretion, as defendant failed to show good cause relieve her.

      On two different occasions in 2013, the court did not find counsel to be

       negligent or inadequate in any way, and also did not find that there was good

       cause to relieve her. Nor did defendant offer any. Defendant unequivocally

       stated that he wanted to represent himself, demonstrated by him saying that he

       wanted to proceed with the matter. And the court told defendant that he had

       an alternative to self-representation: that appointed counsel would represent

       him. And after each court èoncluded its litany of questions, defendant

       unequivocally stated that he wanted to proceed pro se, as he said that he

       wanted to "go forward though at this stage of the proceeding"(Proceedings:

       5).

                   Furthermore, although defendant expressed dissatisfaction with

      his attorney on January 5,2015,and January 20,2015— the dates that he asked

      to represent himself without also asking for counsel to be relieved he never
                                                                          -




      actually explained why he disliked his attorney and, more importantly, never

      renewed his application to relieve counsel. And the fact that, on prior


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      occasions, he had requested new counsel did not undermine the unequivocal

      and independent nature of his request to represent himself, as by the time that

      the trial was about to start, defendant had abandoned his request for new

      counsel because the only requests he made were to represent himself Clearly,

      a court cannot deny or grant an application that has not been made.

                   The record shows that defendant had already made up his mind on

       January 20, 2015, the date of trial, that he wanted to represent himself,

      indicated by him telling the court that,"I would like to go forward though at

      this stage of the proceeding." (Proceedings: 5). In addition, and critically,

       defendantinformed the court,almost bragging,that he had represented himself

      in a prior case further proofthat his decision to proceed prose here was one
                     -




      that he had made before and that he intended to make here,independent of his

      request for a new attorney. Therefore, because defendant did not renew his

       application to relieve counsel and because he stated that he absolutely wanted

      to proceed to trial pro se, his request was unequivocal. See People v. Jackson,

      97 A.D.3d 693, 694 (2d Dept. 2012)(defendant abandoned his request to

      proceed pro se where he acted in manner indicating his satisfaction with

       counsel).




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                   Defendant's request was also knowing,voluntary, and intelligent

      where two different courts asked him a series ofquestions designed to confirm

      his intent and capacity to make the decision to proceedpro se. Defendant was

      also warned by the court on January 5, 2015,that he was charged with a class

      "C" violent felony and was facing between five and fifteen years in jail

      because of his predicate felon status. The trial court on January 20, 2015,

      further warned defendant that,as apro se litigant, he was at a disadvantage and

      that he would be held to the same legal standard as the other attorneys.

      Defendant, however, claims that defendant's request was not knowing,

      voluntary,and intelligent because the trial court did not fully inform him ofthe

      hardships he would face or the fundamental rights he would be waiving, and

      it did not impress upon him the seriousness of the charges against him or

      advise him of the punishment he was facing. Defendant's claim is belied by

      the record. As is fully discussed above, the court did apprise him of all of

      those facts on January 5,2015,and did fully warn him ofthe disadvantages he

      faced on January 20, 2015.

                   In sum,defendant's request to represent himselfwas unequivocal

      where he abandoned his request for a new attorney and his waiver ofthe right

      to counsel was knowing,voluntary,and intelligent where two differentjudges


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      informed him of the consequences he faced, if convicted, and the

      disadvantages and hardships he faced in representing himself.

                                       POINT FOUR

                     DEFENDANT'S SENTENCE WAS NEITHER
                     EXCESSIVE NOR UNDULY HARSH, AND
                     SHOULD NOT BE DISTURBED ON APPEAL
                     (Answerins Defendant's Brief. Point Four).

                     Given the severity of defendant's crime, his status as a predicate

      felon,and his lengthy criminal record,the sentencing court properly exercised

      its discretion in imposing two ten-year prison sentences for two counts of

      second degree robbery,to run concurrently,and two one-year prison sentences

      for third degree assault and fifth degree possession ofstolen property,to merge

      with his other sentences. The sentence was entirely legal and also warranted.

      Nevertheless,defendantcontends thatthe courtshould have imposed a reduced

      sentence   -   although he does not propose a sentence    -   because he did not

      initiate the attack on the victim, was less culpable than his co-defendant, and

      conducted himself in a courteous and respectful manner while representing

      himselfat trial, showing that he is an intelligent and respectful man.Defendant

      is wrong.

                      Although sentencing is primarily a function of the trial court,

      People v. Felix, 58 N.Y.2d 156, 161 (1983), this Court may modify the
                                              53
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       sentence "as a matter of discretion in the interest of justice." C.P.L. §

       470.15(3). In order to exercise this power,however,the Court must determine

       not only that the sentence imposed was harsh and excessive, but also that there

       is some demonstrated "need to impose a different view of discretion than that

       ofthe sentencing Judge." People v. Suitte,90 A.D.2d 80,86(2d Dept. 1982).

       Such a need will generally arise only if, pursuant to the statutory mandate that

       governs invocation ofthis Court's interest ofjustice jurisdiction, the sentence

       imposed was "unduly" harsh and excessive. C.P.L. § 470.15(6)(b); People v.

       Thompson, 60 N.Y.2d 513, 519 (1983). Courts consider the facts and

       circumstances ofthe case when judging whether a sentencing court abused its

       discretion in sentencing the defendant. See, e.g., People v. Sabin, 73 A.D.3d

       1390 (where defendant rubbed seven-year-old girl's vagina underneath her

       clothing while babysitting her, no abuse ofdiscretion in sentencing defendant

       to seven years prison for first degree sexual abuse given nature of crime, age

       of victim, and exploitation offamily's trust). Here, defendant's sentence was

       not harsh and excessive   -   and certainly was not "unduly" so-   and there is

       thus no need for this Court to substitute its discretion for that of the court

       below.




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                     A review of the record reveals that defendant's sentence was a

       proper exercise of the court's discretion. During sentencing, the court

       considered the Probation Department's Pre-Sentence Report and listened to

       oral arguments by the People and defendant, in which he maintained his

       iimocence clearly showing no remorse at all(5: 21).
                 -




                     The People asked the court to impose the maximum allowable

       sentence: a sentence of fifteen years for second degree robbery, based on the

       serious nature ofthe crime and the defendant's lengthy criminal record ofboth

       felony and misdemeanor convictions,including a burglary conviction in which

       he broke into a store late at night and stole property,and a coercion conviction

       in which he lured a woman inside an abandoned building for the purpose of

       committing a sexual assault(5: 20).

                     Defendant did not propose a sentence, but did argue that the

       People never presented any evidence that defendant was caught with the

       victim's stolen property and that any testimony to the contrary was perjured(S:

       21). Defendant also argued that he is not the violent criminal that the People

       made him out to be and that his criminal history consists of mainly non-violent

       crimes, such as drug possession convictions and other "minor offenses," such




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       as trespassing(S:21-22). Finally, defendant argued that he suffers from a drug

       problem(5: 22)

                    The Probation Department's Pre-Sentence Report strongly

       recommended incarceration due to the nature of the offense and defendant's

       lengthy criminal history, that dates back to 1985 and consists of twenty-two

       misdemeanor and two felony convictions, including assault, robbery, and

       burglary, as well as one probation revocation (PSR: 3-4). In the "Victim's

       Impact Statement" portion of the report, Elturkey indicated that he had

       experienced "flash backs" and, as a result of the attack, was generally fearftil

      (PSR: 3). Defendant denied his guilt in his interview(PSR: 3).

                    In light ofthese facts, the court properly exercised its discretion

       in sentencing defendant to ten years ofincarceration. Defendant was convicted

       oftwo counts ofRobbery in the Second Degree,a class C felony, which carries

       a maximum sentence offifteen years. P.L. § 70.00(2)(c). Indeed,the imposed

       ten-year sentence was below the fifteen-year sentence that the People

       recommended. Thus, despite the length of defendant's sentence, his sentence

       was fair and below the maximum permitted sentence for his crime.

                    The factors considered by the court also supportthe sentence.The

       court recognized the seriousness of the crime and the callousness of
                                        SR100
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       defendants' actions in which they "had no problem hurting the victim in order

       to take his money"(S: 22). Critically, the court noted that both defendants

       were "equally responsible and involved" in the crime where it appeared that

       they had intentionally targeted the victim(S: 23). The court also noted that the

       victim's failure to identiQj defendant during the trial did not change his "belief

       in the accuracy and justice of the jury's verdict"(5: 23).

                    The factors offered by defendant as a basis for a lesser sentence

       do not constitute "extraordinary circumstances" that warrant interference by

       this Court with the discretion of the lower court, and a substitution of this

       Court's discretion in the interest ofjustice. See, e.g.,People v. Sims,57 A.D.3d

       1 106(3rd Dept.2008)(ten-year sentence for second degree robbery not unduly

       harsh or excessive,despite defendant's age ofseventeen,failed education,and

       lack of violent criminal history); People v. Frary, 29 A.D,3d 1223, 1226(3d

       Dept. 2006)(where defendant was convicted of first degree course of sexual

       conduct against a child, his lack of criminal record and fact that he was

       contributing member of community were not extraordinary circumstances

       given nature of crime and young age of victim); People v. Roman,84 A.D.2d

       851 (2d Dept. 1981). The trial judge, who saw and heard all ofthe witnesses

       testify and saw the physical evidence, properly exercised his discretionary


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       power to sentence. See People v. Farrar, 52 N.Y.2d 305 (1981); Suitte, 90

       A,D.2d at 86.

                     Indeed, defendant's crimes here were extremely serious.

       Defendant and his co-defendant targeted and ganged up on a fifty-two year old

       man and beat him to the point where he lost a tooth and had multiple head

       lacerations, and a swollen, black-and-blue eye. They launched a coordinated

       attack on the victim, where defendant pinned Elturkey down while co-

       defendant slammed his head against the curb and punched him,incapacitating

       him so defendant could reach into his pockets and steal his iPhone and wallet

       -   which is precisely what defendant did.

                     Defendant seeks leniency on the grounds that he did not initiate

       the attack on the victim, and was, according to defendant, less culpable than

       his co-defendant, and that he conducted himselfin a courteous and respectftil

       manner while representing himself at trial, showing, according to him,that he

       is an intelligent and respectful man. But the sentencing court was well aware

       of those factors when it sentenced defendant, and they are deserving of no

       additional weight on appeal. And these are not extraordinary circumstances

       that would warrant a reduction in sentence given the nature ofthe offense,the

       injuries that the victim sustained,and defendant's lengthy criminal record. See


                                             58
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        People v. Sabin, 73 A.D.3d 1390, 1391 (3d Dept. 2010); Sims, 57 A.D.3d

       1106; Frary, 29 A.D.3d at 1226.

                    Defendant's sentence was entirely legal, and the decision of the

       sentencing court reflects its consideration of the specific factors in this case,

       including the severity of the crime and defendant's lengthy criminal record,

       including a burglary conviction in which he stole property, which was his most

       recent conviction before this one. Therefore, the sentence imposed should be

       given deference by this Court and left undisturbed.

                    In sum, because the imposed sentence was within the statutory

       guidelines and defendant does not establish extraordinary circumstances, his

       sentence is not excessive. Therefore, defendant's judgment of conviction

       should be affirmed.




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                                    CONCLUSION

                   For the reasons set forth above, defendant's judgment of

       conviction should be affirmed.




                                             Respectfully submitted,




                                             RICHARD A. BROWN
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       October 14, 2016




                                            [1I]
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                        CERTIFICATE OF COMPLIANCE

              I certifj the following in compliance with section 670.10.3 of the
 Rules of this Court:

       1. The foregoing brief was prepared on a computer.

       2. The typeface used is Times New Roman.

       3. The point size of the text is 14 point, except for footnotes, which are 12
       point.

       4. The brief is double spaced, except for the Table of Contents, point
       headings, footnotes, and block quotes.

       5. The brief contains 12,767 words, exclusive ofthe Table of Contents,
       proof of service, and the certificate of compliance, based on the word count
       ofthe word-processing system used to prepare this brief


 Dated:      Kew Gardens, New York
             October 14, 2016




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               SUPREME COURT OF THE STATE OF NEW YORK
         Ii    APPELLATE DIVISION : SECOND JUDICIAL DEPARTMENT



               People of the State of New York,
                                                           Respondent,
                                                                                     AFFIDAVIT OF SERVICE

                               V.                                                App. Div. DocketNo. 2015-01907

                                                                                  Queens County hid. No. 228/12
                Raymond Ball,
                                                           Appellant.



                STATE OF NEW YORK)
                COUNTY OF KINGS  )ss:


     I
                       Aria Begonja, being duly sworn, deposes and says:

                       1. I am not a party to the above-entitLed proceeding. I am over 18 years of age. I reside in
                Whitestone, New York.

                        2. On April 27,2017,I served a true copy of the appellant's pro se supplemental brief, via
                interoffice messenger,to the following person(s):

                       Richard A. Brown
                       District Attorney, Queens County
                       1 25-01 Queens Boulevard
                       Kew Gardens, N.Y. 11415




                                                                             Ma Begonja    â
                Sworn to before me this
                27th
                   day of April, 2017.




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                                                          To be argued by
                                                          JOSEPH Z. AMSEL
                                                   (TIME REQUESTED: 15 MINUTES)




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                            Appellate Division--Second Department



                                     AD No. 2015-01907


                       THE PEOPLE OF THE STATE OF NEW YORK,

                                                            Respondent,

                                              against

                                      RAYMOND BALL,

                                                        Defendant-Appellant.



                 SUPPLEMENTAL BRIEF FOR RESPONDENT


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                                                          Queens County
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            JOSEPH Z. AMSEL
              Assistant District Attorneys
                Of Counsel

            JUNE 27, 2017




                                       Queens County
                                 Indictment Number 2228/2012
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         SUPREME COURT OF THE STATE OF NEW YORK
         APPELLATE DIVISION: SECOND DEPARTMENT


         THE PEOPLE OF THE STATE OF NEW YORK,

                                     Respondent,

                             -against-

         RAYMOND BALL,

                                     Defendant-Appellant.

                              -----------------------------------------------x

                      SUPPLEMENTAL BRIEF FOR RESPONDENT

                                PRELIMINARY STATEMENT

                      By order dated January 13, 2017, the Court granted defendant's

         application to file apro se supplemental brief Respondent submits this brief

         in response to defendant's supplemental brief served on April 27th, 2017.

                                        INTRODUCTION'

                      In his prose supplemental brief, defendant raises four meritless

         and unpreserved claims. First, defendant claims that the evidence presented

         at the suppression hearing, specifically the testimony of Police Officer

         Pampena, was incredible, as a matter of law, to meet the People's burden of



            'A summary of the trial evidence appears in Respondent's main brief To the extent
         necessary, any additional facts are summarized below.
                                       SR165
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         going forward. Defendant further contends that the People proffered Officer

        Pampena's testimony knowing that it was perjured. However,this claims lacks

         merit for the reasons set forth more fully in Point One of Respondent's main

         brief The evidence was more than sufficient to establish the propriety, of the

         police conduct at issue at the hearing and, under well-established caselaw,the

         hearing court's findings should be given great deference on appeal.

                      Second, defendant claims that the People committed a Rosario

         violation when they failed to disclose the "aided report." This claim too is

         meritless and contrary to the record because the record clearly establishes that

         this document does not exist. Moreover, defendant articulates no factual basis

         for his claim that the report does exist and that the People improperly denied

         its existence. Accordingly, because the People's representation to the court

         that the aided report does not exist is sufficient to defeat defendant's bare

         assertion that it does, both the hearing and trial courts correctly declined to

         issue any sanction for this non-existent Rosario violation.

                      Third, defendant claims that his confrontation right and

         constitutional and statutory right to be present at all points ofthe proceedings

         were violated when the hearing court concluded the reopened suppression

         hearing without defendant being present. This claim is meritless because,


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                                        SR166
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         contrary to defendant's suggestion, the record establishes that the date on

         which the reopened suppression hearing was concluded was a non-material,

         ancillary proceeding to which defendant could not have meaningftilly

         contributed and thus his right to be present at a material proceeding was not

         violated.

                      Fourth, defendant claims that the court improperly denied hispro

         se speedy trial motion, assigned appellate counsel is ineffective for failing to

         raise the issues defendant raises herein, and that the Supreme Court failed to

         comply with this Court's order to provide the trial and hearing transcripts to

         defendant in order to prepare his prose brief These claims too are meritless.

         First, defendant raises no issue oflaw or fact with the court's denial ofhispro

         se speedy trial motion and his claim that he did not have all the transcripts of

         every adjournment in this case are dehors the record. Moreover,defendant had

         enough information to file api-v se speedy trial motion below and he provides

         no reason why his lack ofevery record ofevery adjourn date limited his ability

         to point out any factual or legal error with the court's disposition of this

         motion. Second,defendant's claim that current appellate counsel is ineffective

         for failing to raise a speedy trial issue in this appeal or the various issues

         defendant raises herein is unfounded because the record does not establish that


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                                        SR167
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         counsel is either deficient or that defendant suffered any prejudice, and,in any

         event, this claim is premature insomuch as his appeal has yet to be decided.

                      In sum,all issues raised in defendant's prose supplemental brief

         are meritless. For the reasons set forth below and in the People's main brief;

         defendant's conviction and sentence should be affirmed.

                                         POINT ONE

                      THE HEARING COURT PROPERLY DENIED
                      DEFENDANT'S MOTION TO SUPPRESS
                      PHYSICAL EVIDENCE,STATEMENTS,AND
                      IDENTIFICATION EVIDENCE AND
                      DEFENDANT'S CLAIM THAT THE
                      PEOPLE'S EVIDENCE WAS INCREDIBLE IS
                      CONTRARY TO THE RECORD AND
                      MERITLESS.

                      The People hereby rely on the arguments set forth in Point One of

         their main brief    Nonetheless, defendant claims, throughout his pro se

         supplemental brief, that the suppression hearing testimony was incredible and

         that, therefore, the People failed to establish that the police conduct was

         reasonable. Defendant is wrong. As noted in the People's main brief; great

         deference must be given to the hearing court that had the unique opportunity

         to see and hear the witnesses (See Respondent's Brief at 25 citing cases).

         Furthermore, defendant fails to identify as single reason for why the evidence
                                         SR168
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         was incredible but simply asserts that it is. Accordingly, defendant's claim

        lacks merit and the hearing court's ruling should be affirmed in its entirety.

                                         POINT TWO

                      THE COURT CORRECTLY DECLINED TO
                      ISSUE A ROSARIO SANCTION BASED ON
                      THE PEOPLE'S REPRESENTATION AND
                      THE OFFICER'S TESTIMONY THAT NO
                      AIDED REPORT EXISTED AND DEFENDANT
                      HAS FAILED TO ARTICULATE A FACTUAL
                      BASIS FOR THE CLAIM THAT SUCH
                      DOCUMENT EXISTED.

                      Defendant claims that the trial court erred in not imposing a

         Rosario sanction on the People for failing to disclose the aided report allegedly

         prepared by Police Officer Pampena(Defendant's Pro Sc Supplemental Brief

         at 38-39). Defendant's claim is meritless. The record clearly establishes, and

         the People consistently maintained,that no aided report existed in this case and

         defendant has articulated no factual basis for his claim that such document

         existed. Accordingly, the court correctly denied defendant's application for

         sanctions against the People.

                      Under section 240.44(1) of the Criminal Procedure Law, at the

         conclusion of direct examination of a witness at a hearing, the People are

         required to disclose to the defendant any "written or recorded statement      .




         made by such witness other than the defendant which relates to the subject
                                        SR169
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         matter ofthe witness's testimony." See also,People v. Rosario,9 N.Y.2d 286,

         289(1961). Under section 240.45(1), the same rules applies in the context of

         a trial, although the timing of the disclosure is before opening statements at a

        jury trial or before the submission of evidence begins in a bench trial.

         Generally, the prosecutor's statements, as an officer of the court, that no

         Rosario material exists is sufficient to establish that fact. People v. Poole,48

         N.Y.2d 144, 149 (1979); People v. Shaw, 244 A.D.2d 582, 582 (2d Dept.

         1997). However, where the defendant can articulate a factual basis for the

         assertion that a prosecutor is improperly denying the existence of prior

         statements or where the prosecutor admits the existence ofsuch statements but

         contends that they are irrelevant to the testimony of the witness, the court is

         required to conduct an in camera review to determine whether such statements

         are discioseable. Id; see also, People v. Caballero, 137 A.D,3d 929, 930(2d

         Dept. 2016), leave to appeal denied, 28 N.Y.3d 927, reconsideration denied,

         28 N.Y.3d 1071 (2016).

                      Even where a defendant has established that the People have

         failed to disclose Rosario material, a defendant must show prejudice. That is,

         that there is a "reasonable possibility that the non-disclosure materially

         contributed to the result of the trial or other proceeding." C.P.L. § 240.75.
                                        SR170
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        Nonwiliful or negligent loss or destruction of Rosario material does not

         mandate a sanction unless the defendant establishes prejudice. People v.

         Martinez, 22 N.Y.3d 551, 567 (2014). Upon making such a showing, the

         choice of an appropriate sanction is within the sound discretion of the court.

        Id.   Sanctions may include granting the defendant an adjournment to

         investigate, study, or otherwise prepare for the consequence of the late

         disclosure, giving an adverse inference to the finder of fact that allows it to

         infer that the non-disclosed material contains statements that are contrary to

         what the witness testified to, issuing a protective order, precluding the

        "introduction ofcertain evidence or the calling ofcertain witnesses," or taking

        "any other appropriate action," which may even include dismissal in rare cases.

         See C.P.L. § 240.70; see also, People v. Kelly, 62 N.Y.2d 516, 522 (1984).

         However,preclusion ofevidence and dismissal are "severe" sanctions that are

        "not to be employed unless any potential prejudice arising from the failure to

         disclose cannot be cured by a lesser sanction." People v. Jenkins, 98 N.Y.2d

         280, 284(2002).

                      Here, the record clearly establishes that the People affirmatively

         represented that no aided report existed and defendant has failed to articulate

         a factual basis for the assertion that the People improperly denied its existence.


                                                 7
                                           SR171
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        At the reopened hearing on January 8th, 2014, Officer Pampena testified that

        he had filled out an aided report in connection with defendant's arrest(H22:36-

        37). Defense counsel immediately informed the court that she had not received

        this document from the People and requested that the court direct the People

        to disclose it. Officer Pampena then immediately clarified that he had no

        specific recollection of filling out such a report but that it was his practice to

        do so in cases such as this(H2: 37-38).

                        At the conclusion ofthe hearing,the court ordered the officer and

        the People to conduct a diligent search of police records to locate the aided

        report, should it exist. The court informed the parties that it would delay

         making a decision on the reopened hearing until the People reported on the

         result of the officer's search. The court adjourned the case to January 141!!,

         2014, for this purpose. (H2: 50-52).

                        On January 14, 2014, the parties appeared before the court.

         Although defendant was produced, his presence in the courtroom was waived

         by his attorney (H3: 3). The People represented to the court that following

         Officer Pampena's testimony on January 8th, he returned to his police precinct



            2A number proceeded by "H2'refers to the page number of the record of the reopened
         suppression hearing conducted on January 8,2014;"1-13" refers to the record of January 14,
         2014; and "T" refers to the record of the trial..
                                                     [I]
                                         SR172
Case 1:19-cv-05310-ERK-LB Document 9-1 Filed 12/13/19 Page 172 of 195 PageID #: 340



         and searched for the aided report but to no avail. The People further informed

         the court that after conducting this search,the officer concluded that, as he had

         suggested during his testimony, he had not prepared an aided report in this

         case. The court asked the People whether they were satisfied with the officer's

         representation regarding his search,to which the People responded they were.

         The court accepted the People's representation that no aided report existed and

         concluded that, because it did not exist, there was no need for further cross-

         examination. The court then informed the parties that it would be denying

         suppression   -   as it had done before the hearing was reopened   -   and it would

         issue a written decision the same day(H3: 2-3). In a decision and order dated

         Januaty 141h, 2014, the court denied suppression (Decision and Order Dated

         January 14, 2014).

                       Before Officer Pampena testified at trial, defendant, who waspro

        se at that point, moved in urn/ne to preclude the officer's testimony on the

         grounds that the People had failed to disclose the aided report(T: 488). The

         People responded that, as the officer testified at the reopened hearing, it was

         only his general practice to prepare one but that an aided report was never

         prepared in this case. The People further argued that the officer clearly had

         misspoken when he said, at first, that he had filled out an aided report because
                                             SR173
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        the People had conducted an "exhaustive search" for the report and no report

        existed(T:489). Relying on the People's representation,the trial court denied

        defendant's motion to preclude Officer Pampena's testimony. Later, Officer

        Pampena specifically testified that he had not prepared an aided report in this

         case(T: 543).

                         It is clear from the record that no aided report existed. Therefore,

         contrary to defendant's claim,there was no Rosarlo violation here and both the

         hearing and trial courts correctly declined to issue a sanction. Furthermore,

         defendant has not articulated now,or in the courts below,any factual basis for

         the assertion that the People improperly denied the existence of the aided

         report here.

                         Furthermore,even assuming arguendo that an aided report existed

        -   which the People do not concede        -   defendant has failed to demonstrate the

         necessary prejudice. In order to succeed on this claim, defendant is required

         to demonstrate that there is a reasonable possibility that the non-disclosure of

         an aided report materially contributed to the result of the trial. See C.P.L. §

         240.75. Defendant, however, has failed to offer any argument or evidence as



            3The co-defendant also inquired ofOfficer Lanning on cross-examination whether he had
         filled out an aided report in this ease, to which Officer Lanning responded that he had not(T:
         461, 466-67).

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                                         SR174
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        to what would have possibly been on an aided report that would have

        materially impacted any of the People's witnesses.           Indeed, given the

        overwhelming evidence of guilt that resulted in defendant's conviction, it is

        entirely doubtful that he could offer such argument or evidence. Accordingly,

        defendant's claim lacks merit and should be rejected by this Court.

                                         POINT THREE

                        DEFENDANT WAIVED HIS PRESENCE AT
                        THE CALENDAR CALL WHERE THE
                        HEARING COURT CONCLUDED THE
                        REOPENED HEARING WITHOUT FURTHER
                        TESTIMONY AND, IN ANY EVENT, THAT
                        WAS A NON-MATERIAL, ANCILLARY
                        PROCEEDING AT WHICH DEFENDANT DID
                        NOT HAVE A RIGHT TO BE PRESENT.


                        Next,defendant claims that his right to due process,confrontation,

        and statutory right to be present at a material proceeding wereall violated

        when the hearing court concluded the reopened suppression hearing on January

        14th
               2014, without his presence in court. Defendant points to the hearing

        court's decision and order dated January 1401, 2014, which states that "on

        1/4/14 the re-opened hearing was concluded and the defendant's motion to

        suppress. is again denied"(See Decision and Order Dated January 14,2014,
                   ..




        at 1). Defendant claims, without any record basis,that on January 4Ih, 2014,he


                                                 11
                                       SR175
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        was not produced or present before the court. Defendant further claims that on

        January j4th 2014— the date of the decision and order   -   he was produced by

        the department of corrections but never appeared in the courtroom for the

        conclusion of the hearing. Thus, he claims, his statutory and constitutional

        right to be present and to confront the witnesses against him were violated(See

        Pro Se Supplemental Brief at 41).

                     Defendant is wrong for several reasons.         First, contrary to

        defendant's claim,the record clearly establishes that the hearing court made a

        typographical error when it wrote that"1/4/14" was the date that it concluded

        the reopened hearing and that it really meant to write 1/14/14 the same date
                                                                       -




        of the decision and order. Second, the record also clearly establishes that

        defendant's attorney waived his appearance on January 14th, 2014. Finally,

        under well-established caselaw, defendant did not have a right to be present in

        court on January j4th, 2014 because this was a non-material, ancillary

        proceeding relating solely to a question oflaw upon which defendant could not

        have any meaningful input. Accordingly, defendant's claims are meritless and

        should be rejected by this Court.

                     As an initial matter, defendant is correct that he was not produced

        before the court on January 4th, 2014 because, based on records ofthe Queens


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                                        SR176
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         County Supreme Court (of which this Court can take judicial notice),

         defendant's case was not heard on January 4th, 2014. That this was so could

         also be gleaned from the fact that at the reopened hearing on January gth, 2014,

        the court took testimony from two witnesses and at no point did the court or the

         attorneys (for the People, defendant, or co-defendant) make any reference to

         a proceeding on January 4thi Furthermore, as set forth above in Point Two,at

         the conclusion ofthe reopened hearing, after the question of whether the aided

         report existed was raised, the court adjourned the case to January 14th for

        "control" to give the People an opportunity to search for this alleged document

        (H2: 50-52). And on this date, after the People represented to the court that no

         aided report existed,the court concluded the hearing without taking any further

         testimony(H3: 2-3). Thus,it is clear from the record that no proceedings took

         place on January 4Ih and that when the court wrote that it concluded the hearing

         on "1/4/14" in its decision and order dated January 14th it clearly meant to

         write 1/14/14, the same date of the decision and order.

                      With respect to defendant's claim that he had a right to be present

         on January 14th this too is meritless. The record forJanuary 14Lh, Z014 clearly

         establishes that on this date, defendant was produced by the department of

         corrections and present in the courthouse but was not brought before the court.


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        However,defense counsel specifically waived defendant's appearance(H3:3).

        Thus, despite defendant's claim, his appearance was waived on this date and

        defendant cannot now be heard to complain that the court erred in not having

        him brought before it. Moreover, defendant tacitly accepted this waiver

        because at no point, especially once he was proceedingpro se, did he raise this

        issue, despite the probability of him having a copy of the hearing court's

        decision and order dated January 14t1i, 2O14.

                       Furthermore, even assuming arguendo that the waiver was

        somehow invalid, defendant did not have a right to be present on January 14th

        because this was a non-material, ancillary proceeding at which the court was

        resolving a question oflaw. Under the Fourteenth Amendment's Due Process

        Clause ofthe Federal Constitution, a defendant has a right to be present at any

        stage of the criminal proceeding that is critical to its outcome if his presence

        would contribute to the fairness ofthe procedure. See Kentucky v. Stincer,482

        U.S. 730,745(1987);see also,Snyder v. Massachusetts, 291 U.S. 97, 105-06

        (1934)(The "defendant has the privilege under the Fourteenth Amendment to

        be present in his own person whenever his presence has a relation, reasonably


           4Defendant's extensive involvement in his defense even before he decided to proceedpro
        Se, (see, e.g., H2: 37), suggests that he had a copy of the decision well before this case
        proceeded to trial and certainly at trial, when he had ample opportunity to raise the claim he
        raises now.

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                                       SR178
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        substantial, to the fullness of his opportunity to defend against the charge.")

        In New York, section 260.20 of the Criminal Procedure Law provides that a

        defendant has a right to be present "during the trial of an indictment." C.P.L.

        § 260.20. The term "trial" has been expansively construed to include every
        "material stage of the trial" as well as "ancillary proceedings" at which a

        defendant's presence could have a substantial effect on his or her ability to

        defend against the charges. See People v. Roman, 88 N.Y.2d 18, 25-26

        (1996). However, a defendant does not have a right to present where such

        "presence could not have afforded him or her any meaningful opportunity to

        affect the outcome." Id. at 26.

                     For example, calendar calls and proceedings at which questions

        of law are resolved and where, accordingly, there is no potential of any

        meaningfiul input from the defendant are not "material." See People v.

        DePallo, 96 N.Y.2d 437, 443 (2001)(defendant does not have a right to be

        present during conference in chambers where defense counsel disclosed to the

        court defendant's desire to offer perjurious testimony because there was "no

        potential for meaningful input" from the defendant); People v. Morales, 80

        N.Y.2d 450, 457 (1992)(noting that a defendant has a right to be present

        during hearing where testimony is taken but does not have such a right when


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         issue before the court is a legal determination); People v, Husbands, 303

         A.D.2d 227(1 st Dept. 2003)(proceeding at which court dealt with question of

        law not "material" because no potential for defendant to have meaningful

         input); People v. England, 19 A.D.3d 154, 155 (151 Dept. 2005)("Defendant

         did not have a right to be present at the calendar call at which the court denied

        the motion,since the court was simply placing on the record the decision it had

         already made on defendant's written submissions.").

                      Here,the January 1 4th proceeding was non-material and ancillary

         and involved the court making a legal determination upon which defendant

         could not have any meaningful impact. As set forth more fully above in Point

         Two, the purpose of this proceeding was for the People to report to the court

         the result of the officer's search for the alleged aided report. The court

         concluded that, based on the People's representation, no further testimony in

         the hearing was required because the aided report did "not exist"(H3: 3). This

         was an entirely legal determination based upon the People's representation

         upon which defendant's presence would have had no impact.

                      Indeed, had court taken testimony on this date, for example,

         defendant's presence would certainly have been necessary to aid his attorney

         in conducting cross-examination because certain facts needed to confront the


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                                        SR180
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         witnesses might be exclusively within defendant's knowledge. However,here,

         defendant's could not have meaningfttlly contributed to contradicting the

        People's representation about the existence of the alleged aided report, as is

         evident from the lack of a factual basis provided that the report actually

         existed, as discussed ftilly above in Point Two. Moreover, the determination

         that necessarily flowed from the court's finding that no aided report existed   -




         that no further testimony was required   -   was a legal determination to which

         defendant, by virtue of his lack oflegal training, could not have meaningfully

         contributed(Cf Point Three ofRespondent's Main Brief). Finally,defendant's

         speculative assertion that testimony was taken on January 1 4th is belied by the

         record of that proceeding.

                      In sum, defendant waived his appearance at the proceeding on

         January 14th• Furthermore, this proceeding was a non-material, ancillary

         proceeding at which defendant did not have a right to be present. Accordingly,

         defendant's meritless claim should be rejected by this Court

                                        POINT FOUR

                      DEFENDANT'S REMAINING CONTENTIONS
                      ARE DEHORS THE RECORD AND,IN ANY
                      EVENT,ARE MERITLESS.
                      Defendant further claims that the Supreme Court failed to comply


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        with this Court's order that the trial transcripts should be provided to defendant

        when it granted his motion to file a pro se supplemental brief (Pro Se

        Supplemental at 51). This claim is meritless because defendant does not point

        to which transcripts he lacks and while he asserts that his appeal is prejudiced,

        he does not explain how.


                      Also meritless is defendant's claim that the court improperly

        denied his prose motion to dismiss on statutory and constitutional speedy trial

        grounds(Pro Se Supplemental Brief at 50-5 1). Defendant raises no issue of

        fact or law with regard to this decision and his claim that he could not now

        raise any such claims because he did not have the record ofevery adjournment

        in this case is similarly unpersuasive. After all, as defendant acknowledges,

         he previously filed a motion to dismiss on speedy trial grounds (Pro Se

        Supplemental Briefat 51). Thus, defendant clearly had enough iflformation to

         make that motion and his failure to identif5j any error in the court's disposition

        of that motion renders his present claim meritless.

                      Similarly unpersuasive is defendant's claim that his appointed

         appellate counsel is ineffective for failing to raise a speedy trial issue and

        defendant's non-presence at the calendar call on January 1 4Lh, 2014 (Pro Se

         Supplemental Brief at 51). As discussed more fully above, these claim are

                                                11
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        entirely meritless and thus appellate counsel's failure to raise this issue in

        defendant's main brief reflects an entirely reasonable strategy. See People v.

        Bait/i, 54 N.Y.2d 137, 146 (1981); People v. LaValle, 97 N.Y.2d 721, 722

        (2002). Moreover,the record is devoid ofany evidence that defendant suffered

        any prejudice as a result ofappellate counsel's failure to raise these issues as
                                                                                    -




        he is required to show. Id.; see also, Stricklandv. Washington, 466 U.s. 668,

        688(1984); Smith v. Robbins,528 U.s. 259,285(2000). Furthermore,to now

        raise a claim that appellate counsel is ineffective is premature given that the

        appeal has yet to be decided and,in any event, defendant's ability to raise these

        issues in his pro se supplemental brief would enable this Court to cure any

        alleged prejudice. See La Valle, 97 N.Y.2d at 722.

                     Finally,defendant's claim that appellate counsel is ineffective for

        failing to review all the minutes in this case before filing defendant's main

        brief is dehors the record. Defendant has no record basis for this claim.

                     In sum, defendant's remaining contentions are meritless and are

        unsupported by the record. Accordingly, defendant's claims should be rejected

        by this court.




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                                    CONCLUSION

                    For the reasons set forth above, defendant's judgment of

        conviction should be affirmed.




                                                  Respectfully submitted,




                                                  RICHARD A. BROWN
                                                  District Attorney
                                                  Queens County




        JOHN M. CASTELLANO
        JOHNNETTE TRAILL
        JOSEPH N. FERDENZI
        JOSEPH Z. AMSEL
            Assistant District Attorneys
            of Counsel

        June 27, 2017




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                          CERTIFICATE OF COMPLIANCE



                I certify the following in compliance with section 670.10.3 of the
   Rules of this Court:

         1. The foregoing brief was prepared on a computer.

         2. The typeface used is Times New Roman.

         3. The point size of the text is 14 point.

         4. The brief is double spaced, except for the Table of Contents, point
         headings, footnotes, and block quotes.

         5. The brief contains 4,110 words, exclusive of the Table of Contents, proof
         of service, and the certificate of compliance, based on the word count of the
         word-processing system used to prepare this brief


   Dated:       Kew Gardens, New York
                June 27, 2017



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   _____AD3d_____                                                       Submitted February 8,2018
                                                                                   -




   WILLIAM F. MASTRO,J.P.
   REINALDO E. RIVERA
   SYLVIA 0. HINDS-RADIX
   ANGELA G.IANNACC1,JJ.


   2015-01907                                                                 DECISION & ORDER
   The People, etc., respondent,
   v Raymond Ball, appellant.

   (md.No. 2228112)


                  Randall D. linger, Bayside, NY,for appellant, and appellant pro Se.

                  Richard A. Brown, District Attorney, Kew Gardens, NY (John M. Castellano,
                  Johnnette Traill, Roni C. Piplani, Meredith D'Angelo, Joseph N. Ferdenzi, and
                  Joseph Z. Amsel of counsel), for respondent.

                  Appeal by the defendant from a judgment of the Supreme Court, Queens County
   (Barry A. Schwartz, J.), rendered March 4,2015, convicting him of robbery in the second degree
   (two counts), assault in the third degree, and criminal possession of stolen property in the fifth
   degree, upon ajury verdict, and imposing sentence. The appeal brings up for review the denial, after
   a hearing (Ronald D. Hollie, J.), of that branch of the defendant's omnibus motion which was to
   suppress physical evidence,identification testimony,and his statements to law enforcement officials.

                  ORDERED that the judgment is affirmed.

                  We agree with the hearing court's determinations that there was probable cause for
   the defendant's arrest, and accordingly, to deny suppression of physical evidence, identification
   testimony, and the defendant's statements to law enforcement offIcials (see People v Mason, 119
   AD3d 710,711; People v Cots?fas, 100 AD3d 1015, 1015; People v McNei4 47 AD3d 647, 647;
   People v Vasquez, 291 AD2d 465, 465; People vjackson, 282 AD2d 473, 474).

                  The defendant did not preserve for appellate review his argument that a proper

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                                    PEOPLE v BALL,RAYMOND
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   foundation was not laid pursuant to CPL 60.25 to support the admission oftestimony regarding the
   complainant's identification of the defendant at a pretrial showup (see People v Davts 139 AD3d
   966,967;People vJenkins, 205 AD2d 642,643), In any event,that argument is without merit(see
   People v Davis, 139 AD3d at 967;People v Rivera, 308 AD2d 602,603;People v Polite, 228 AD2d
   705, 706; People vHernandez, 154 AD2d 197, 202).

                   Contrary to the defendant's contention,the record, as a whole, demonstrates that the
   defendant's decision to waive his right to counsel and to proceed pro se was unequivocal, knowing,
   voluntary, and intelligent (see People v Paulin, 140 AD3d 985, 987; People v Malone, 119 AD3d
   1352, 1354; People v Lewis, 114 AD3d 402, 404-405). The trial court's extensive inquiry
   established the defendant's ability to represent himself and emphasized the dangers and
   disadvantages of proceeding without counsel(see People v MeCord, 133 AD3d 689, 690;People
   v Zalevs/cy, 82 AD3d 1136; People v Damon, 78 AD3d 860).

                    The sentence imposed was not excessive (see People v Suitte, 90 AD2d 80).

                    The defendant's remaining contentions, raised in his pro se supplemental brief, are
   without merit.


   MASTRO, J.P., RIVERA,HINDS-RADIX and IANINACCI, JJ., concur.


                                                  ENTER:



                                                      4lannA      / cQino
                                                         Clerk of the Court

   June 6,2018                                                                                 Page 2.
                                     PEOPLE v BALL,RAYMOND
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                           2ankh(9.
                                      Attorney-at-Law

              SuIte 302 Bayside, NY 11361                Tel:(718)279-4500 Fax:(718)281-0850




                                                June 10,2018

 Clerk of the Court of Appeals
 20 Eagle Street
 Albany, New York 12207

             Re:    People v. Raymond Ball
                    Application for Leave to Appeal1

 Dear Sir/Madam:

             I am counsel for Raymond Ball, the appellant in the above-referenced
 case. In a decision and order dated June 6, 2018, the Appellate Division, Second
 Department affirmed thejudgment ofthe Supreme Court,Queens County,convicting
 Mr. Ball ofrobbery in the second degree and other related charges.

             By this leuer, I am requesting that this Court grant Mr. Ball leave to
 appeal from the decision entered below. Pursuant to that application, I am- enclosing
 herein copies of the briefs submitted and the decision rendered in the court below.
 Kindly inform me when ajudge is assigned to rcvew the within application.

                                                 Very truly yours.



                                                 Randall D. Unger

 cc:   Hon. Richard A. Brown
       District Attorney, Queens County
       125-01 Queens Boulevard
       Kew Gardens, New York 11415
•             T                                 SR188                     a         j
    Case 1:19-cv-05310-ERK-LB Document 9-1 Filed 12/13/19 Page 188 of 195 PageID #: 356


                                   2anchz49. Q&r
                                              Attorney-at-Law

4240 Bell Boulevard, Suite 302• Bayside, NY 11361                Tel:(718)279-4500 Fax:(718)281-0850




                                                         July 16, 2018

      Hon. Jenny Rivera
      Judge ofthe Court of Appeals
      Court of Appeals Hall
      20 Eagle Street
      Albany, New York 12207-1095

                   Re: People v. Raymond Ball
                       Application for Leave to Appeal

      Dear Judge Rivera:

                  I am appellate counsel for Raymond Ball,the appellant herein. Mr.Ball
     was convicted in the Supreme Court, Queens County, of robbery in the second
     degree, assault in the third degree and criminal possession of stolen property in the
     fifth degree, following a jury trial. His conviction was affirmed in a decision and
     order issued by the Appellate Division, Second Department on June 6, 2018.
     Thereafter, I submitted to this Court copies of all of the briefs previously filed, as
     well as the decision and order of the Appellate Division. This letter is respectfully
     submitted in support of Mr. Ball's application for leave to appeal to this Court.

                  Contrary to the Appellate Division's determination,Mr.Ball's arrest was
     not supported by probable cause. For one thing, the description upon which the
     police acted when they confronted Mr. Ball was patently insufficient to establish
     reasonable cause to believe that he had committed the crime under investigation. The
     only descriptive information which the police possessed at that time was that the
     perpetrators were "male Blacks, wearing a white shirt, black pants". The police had
     no information as to the age,height or weight ofthe perpetrators, and no infonnation
     regarding any distinctive facial features. Suffice it to say, descriptions such as those
     which the police possessed in this case have been found insufficient to establish
     reasonable suspicion. People v. Hargroves, 296 A.D.2d 581, 582(2d Dept. 2002);
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  People v. Riddick, 269 A.D.2d 47l (2d Dept. 2000). In light of that precedent, it
  cannot be concluded that the police had probable cause to arrest Mr. Ball, as the
  lower courts held.

                •Nor was probable cause established by Mr. Ball's possession of a cell
 • phone, or the fact that he was running at the time of the police confrontation.
   Significantly, when the police approached Mr.Ball,they had no information as to the
   nature of the property that had alleged been stolen from the complaining witness.
• Thus, Ms. Ball's possession of a cell phone was essentially, innocuous and gave the
   police no greater authority than to question him. People v. Howard,50 N,Y.2d 583,
   590(1980). And since Ms. Ball immediately complied with the officer's command
   to stop, and exhibited no furtive behavior in response to the officer's command, it
   cannot be concluded the degree of suspicion during his encounter with the police
   escalated to the point where it could be said that there was probable cause for his
   arrest. People v. Benjamin,51 N.Y.2d 267(1980).

              In short, the police lacked probable cause to arrest Mr. Ball. His
 statements to the police, the cell phone recovered, and his subsequent identification
 in a showup procedure should therefore have been suppressed. And since without
 that evidence, the People would have been unable to establish a prima fade case
 against him, his conviction should be reversed and the indictment dismissed.

              Mr. Ball's conviction should also be reversed based on the erroneous
 admission ofthird-party identification testimony from the arresting officer. At trial,
 the comp}air1ing• witness did not kkntify Mr. Bali as one of the perpetrators, even
 though he asserted that he had seen him in the area on several occasions prior to the
 charged crime. Because the complaining witness did not identify Mr. Ball in the
 courtroom, the People invoked Section 60.25 of the Criminal Procedure Law to
 introduce testimony from the arresting officer that the complaining witness had
 identified Mr.Ball in a showup identification procedure. However,the People failed
 to lay a proper foundation for the introduction of such testimony. People v.
 Patterson, 93 N.Y.2d 80, 82(1999).

             A proper foundation for the admission of third-party identification
 testimony requires that the People satisfy three conditions:(1)that the witness
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  July 16, 2018
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  observed the perpetrator during the charged offense;(2)thatthe witness subsequently
  identified the perpetrator whom he had observed, and (3) that the witness lacks
  present recollection to identify the defendant as the perpetrator. Patterson, at 82.

                Here, while the People satisfied the first two conditions for introducing
 third-party identification testimony,they failed to satisfy the third condition: that the
  complaining witness could not make an in-court identification ofMr. Ball due to his
  failed recollection resulting from the passage oftime. Because this condition was not
 satisfied, it cannot be concluded that the arresting officer's testimony regarding the
 complaining witness's showup identification was properly admitted under C.P.L. §
 60.25. And since there was a significant probability that Mr. Ball would not have
 been convicted in the absence of such testimony, it cannot be concluded that the
 admission ofthis testimony was harmless. People v. Crimmins,36 N.Y.2d 230.243
 (1975). For this reason, the judgment of conviction must be reversed.

                A further ground for reversing Mr.Ball's conviction wasthe trial court's
  decision to allow him to proceedpro seat his trial. A defendant's decision to waive
  his right to counsel in a criminal case must be knowing, voluntary and intelligent.
 People v. Slaughter, 78 N.Y.2d 485, 491 (1991). And to determine whether the
  waiver of such a flmdainental right is truly effective, a trial court must undertake a
 "searching inquiry" of the defendant. Faretta v. Cal(fornia, 422 U.S. 806, 835
 (1975). Moreover, in reaching the determination that a defendant's waiver of his
 right to counsel was effective, it must be established that the request to proceed pro
 se was unequivocal. People v. Gillian, 8 N.Y.3d 85, 88(2006).

               Here, Mr. Ball's request to proceed pro se was not unequivocal. The
 record reveals that prior to trial, Mr. Ball had repeatedly expressed dissatisfaction
 with his assigned attorney. And as the trial was about to begin, Mr.Ball informed the
 court that although he had not been threatened or coerced into proceedingpro se, he
 felt that he was in an "awkward position" and that he really didn't "have a choice in
 the matter".

              While Mr.Ball's statements to the court certainly reflected a very sincere
 dissatisfaction with the manner in which his trial attorney had been representing him,
 they did not establish that his desire to proceedpro se was unequivocal. Moreover,
                                        SR191
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  since the record is devoid of evidence that the trial court fttlly informed Mr. Ball of
  the hardships he would experience in representing himself,or the thndamental rights
  he would be waiving by proceeding without-counsei1itcannot be concluded that his
  decision to proceedprose was made knowingiy intelligently and voluntarily. People
  v. Mitchell,61 N.Y.2d 580, 585 (1984).

               In sum, Mr. Ball was arrested without probable cause. His conviction
  was based,in large part, on improperly admitted third-party identification testimony.
  And his decision to proceed to trial pro se was not made knowingly,intelligently and
  voluntarily. Foi: these resons, as well as the reasons set forth in M.Ball's prose
  supplemental brief, this. Court.should grant the instant application and permit an
  appeal from the decision of the:Appellate Division, Second Department.

                                                Respectililly submitted,



                                                Randall D. Unger
                                                Counsel for Defendant-Appellant
                                                Raymond Ball


  cc:   I-Ion. Richard A. Brown
        District Attorney, Queens Coupt
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                                               SR192
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                                      DISTRICT ATTORNEY
                                        QUEENS COUNTY
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RICHARD A. BROWN
DISTRICT ATTORNEY
                                                           August 17, 2018


    The Honorable Jenny Rivera
    Judge of the Court of Appeals
    Court of Appeals Hall
    20 Eagle Street
    Albany, New York 12207



                                                Re:    People v. Raymond Ball1
                                                       Queens County md. No. 222/12


     Dear Justice Rivera:

                   This letter is filed in opposition to defendant's application for leave to appeal
     from an order of the Appellat5Division, Second Department, dated June 6, 2018. By that
     order, the Appellate Division affirmed defendant's conviction of two counts of Robbery in
     the Second Degree(Penal Law § 160.10[2]), one count ofAssault in the Third Degree(Penal
     Law § 120.00[1I), and one count of Criminal Possession of Stolen Property in the Fifth
     Degree(Penal Law § 155.35). The issues raised by defendant before the Appellate Division
     are meritless and involve questions of well-settled law that do not present novel issues of
     statewide significance.

                   First, defendant's challenge to the hearing court's finding that the police had
     probable cause to arrest defendant is a mixed question of law and fact and, thus, this Court
     can only review the issue to decide whether the lower court's determination is supported by
     the record. See C.P.L. § 450.90(2)(a); People v. Shabazz, 99 N.Y.2d 634(2003); People v.
     Valerio, 95 N.Y,2d 924(2000). Here, no ffirther review is required because the decision is
                                          SR193
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 supported by the record. Indeed, the record supports the Appellate Division's finding "that
 there was probable cause for defendant's arrest.   ."  People v. Ball, 162 A.D.3d 680 (2d
 Dept.2018). As argued more frilly in the People's Brief(Point One,24-32),the hearing court
 properly held that there was probable cause to make an arrest where defendant was seen
 almost immediately after Officer Pampena received a radio run for a robbery in progress,
 defendant was observed less than two blocks from the robbery scene, and he was running
 away from that location and towards Officer Pampena's car. In addition, defendant matched
 the description given over the radio run, was holding an iPhone, which he spontaneously
 announced that he had bought from 105th Street and Northern Boulevard exactly where the
                                                                         -




 robbery had taken place just moments earlier and where Mr.Elturkey identified defendant
                                              -




 as one of the robbers and told Officer Pampena that money recovered on defendant was in
 the exact denominations that had been stolen from him. Accordingly, all ofthe above factual
 circumstances provided Officer Pampena with probable cause to arrest defendant,See People
 v. Hollman, 79 N.Y.2d 181, 184-85 (1992);People v. DeBour,40 N.Y.2d at 223.

               Second, defendant claims that this Court should review the argument that the
 People failed to lay a proper foundation for the admission of testimony regarding the
 complainant's identification of defendant at a show-up. Defendant, however, failed to
 preserve this claim for review as a matter of law. People v. Ball, 162 A.D.3d at 680; see
 C.P.L. § 470.05(2); People v. Gray,86 N.Y,2d 10, 18(1995). In his leave leuer, defendant
 does not claim otherwise, and in fact, he fails to comply with the Court's rule that the
 appellant must identife and reproduce portions of the record where the issue is raised and
 preserved. See 22 N.Y.C.R.R. §500.20(a)(4). As such, this claim is unreviewable by this
 Court. In any event, as the Appellate Division further held, and as tblly argued in the
 People's Brief(Point Two,32-43), defendant's claim was without merit because the People
 laid the proper foundation to admit Officer Pampena's testimony about Mr.Elturkey's prior
 showup identification of defendant, as Mr. Elturkey testified that he had no recollection of
 the incident and had trouble remembering the co-defendant's face due to the passage oftime.
 People v. Nival, 33 NY.2d 391, 395 (1974).

                Third,the Appellate Division correctly found that the record demonstrated that
 defendant unequivocally,knowingly,voluntarily and intelligently waived his rightto counsel
 and to proceed pro Se. Indeed, here, defendant requested to represent himself on numerous
 occasions, in front of three different judges, and he did not request new counsel during his
 last two applications to represent himself, which were granted. And the decision to represent
 himself was not a spur of the moment decision on the eve of trial (Proceedings: 3-13). Par
 from that, defendant had requested to represent himself as far back as December 16, 2013,
 and his reasoning was that he had prepared his own legal defense and that he had represented
 himselfat trial previously.Indeed,right before trial commenced,defendantresponded,"that
 is correct" in response to the court's extensive questioning and warnings regarding self-
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 representation at trial. Accordingly,the Appellate Division correctly noted that the trial court
 inquired extensively into defendant's ability to represent himselfand emphasized the dangers
 and disadvantages of proceeding to trial without counsel.People v. Ball, 162 A.D.3d at 680.

                Fourth,defendants prose claim that appellate counsel is ineffective for failing
 to review all the minutes in this case before filing defendant's main briefis dehors the record
 and must be raised in a coram nobis. As such, it is unreviewable on direct appeal.See People
 v. Bachert, 69 N.Y.2d 593(1987).

                Finally, as argued in the People's response to defendant's prose supplemental
 brief before the Appellate Division, all of defendant's remaining pro se claims were
 meritless. Indeed, defendant's claim that Officer Pampena's testimony was incredible as a
 matter of law and that the People knowingly allowed Officer Pampena to perjure himself
 were entirely baseless and unsupported claims. Defendant's claim that the trial court failed
 to sanction the People for a Rosario violation because they failed to turnover an "aided
 report" was also baseless as the record clearly established that no such report was prepared
 in conjunction with the instant case,and thus sanctions were unwarranted. Defendant's claim
 that his due process rights to be present during every stage ofthe proceedings was violated
 when he was not present for a court appearance is similarly baseless, as the record indicated
 that the court's calendar call was non-material, ancillary to defendant's suppression hearing.
 People v. Ball, 162 A.D.3d at 680.

               Consequently, defendant's claims present no novel issues of state-wide
 importance, are, in part, unpreserved, and are meritless. Therefore, defendant's application
 for leave should be denied.


                                                     Respectfblly,


                                                    Tina Or
                                                    Assistant District Attorney
                                                    (718)286-7091

 cc:     Randy Unger, Esq.
         42-40 Bell Boulevard, Suite 302
         Bayside, New York 11361
                                             SR195
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  €aurt at ppeaIs
  BEFORE: HON.JENNY RIVERA,Associate Judge


  THE PEOPLE OF THE STATE OF NEW YORK,

                                              Respondent,                       ORDER
                -against-                                                      DENYING
                                                                                LEAVE

  RAYMOND BALL,
                                               Appellant.



         Appellant having applied for leave to appeal to this Court pursuant to Criminal Procedure

  Law § 460.20 from an order in the above-captioned case;*

         UPON the papers filed and due deliberation, it is

         ORDERED that the application is denied.



  Dated: September 13, 2018




  tDescription of Order: Order ofthe Appellate Division, Second Department, entered.June 6, 2018,
  aflirming ajudgment ofthe Supreme Court, Queens County,tendered March 4,2015.
